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             EXHIBIT “A”
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                                                                                         ID# E-BNCF4WYD-4FS
                                                                                          < EFILED IN OFFICE
                                                                                          CLERK OF STATE COURT
                                                                                          COBB COUNTY, GEORGIA

                                                                                            22-A-1750
                          IN THE STATE COURT OF COBB COUNTY
                                                                                         MAY 27, 2022 12:20 PM
                                          STATE OF GEORGIA


                                                                                             Robin C. Bishop, Clerk dr State Court
  BRIAN TUCKER and                                                                                         Cobb County, Georgia

  MEAGAN TUCKER


                  Plaintiffs,                              CIVIL ACTION
  vs.                                                      FILE NO:


  NGL EXPRESS, LLC, GREAT WEST
  CASUALTY COMPANY, and                                     JURY TRIAL DEMANDED
  MUSTAFA MOHAMUD


                  Defendants.




                      COMPLAINT AND DEMAND FOR TRIAL BY JURY


         COMES NOW Plaintiff BRIAN TUCKER, and states his complaint against Defendant


 MUSTAFA MOHAMUD, NGL EXPRESS, LLC., and GREAT WEST CASUALTY


 COMPANY as follows:



                                  PARTIES AND JURISDICTION


                                                   1.


        Plaintiffs Brian and Meagan Tucker consent to the jurisdiction and venue of this Court. They


are residents of the State of Arkansas.



                                                  2.


        Defendant MUSTAFA MOHAMUD (hereinafter “Mustafa”) is the driver of the tractor


trailer involved in the subject collision and is a resident of the State of Ohio, whose last known


address is 5719 Great Hall CT., Columbus, OH 43231. Defendant may be served at that address.


Defendant is subject to the venue and jurisdiction of this Court under Long-Arm Statute (O.C.G.A.


§ 9-10-91) by virtue of the fact that Defendant operated a vehicle on the roads located in the State of


                                                   1
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Georgia and committed a tortious act in Cobb County, State of Georgia.


                                                 3.


        Jurisdiction and venue are proper in this Court pursuant to O.C.G.A. § 40-12-3 and the


 Long-Arm Statute.


                                                 4.


        Defendant NGL Express, LLC is a for-profit, foreign corporation not authorized to conduct


 business in the State of Georgia with its principal place of business located at 3456 Altos CT.,


 Columbus, OH. Defendant NGL Express, LLC is subject to the jurisdiction of this Court, and may


 be served by issuing Summons and a second original of this Complaint to their registered agent


 Adan Ali, at 281 1 Pinellas CT Apt. B, Columbus, OH 43231.


                                                 5.


        Defendant Great West Casualty Company (hereinafter “Great West”) is a for-profit, foreign


 corporation authorized to do business in the State of Georgia with its principal place of business


 located at 1100 West 29th St., South Sioux City, NE 68776 is subject to the jurisdiction of this

 Court, and may be served by issuing Summons and a second original of this Complaint to their


registered agent Corporation Service Company at the principal place of business located at 2 Sun


 Court, Suite 400, Peachtree Comers, GA 30092, USA.


                                                 6.


        Defendants NGL Express, LLC, and Great West Casualty Company, are joint tortfeasors


 and as such, venue as to all Defendants is proper in Cobb County,




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 Georgia.


                COUNT I - NEGLIGENCE OF DEFENDANT MUSTAFA MOHAMUD


                                                   7.


        Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 6 above as


 if they were fully restated verbatim.


                                                   8.


        On or about July 17, 2021, Plaintiff Brian Tucker was operating a 2019 Kenworth Motor


 Truck Company, Truck, traveling southbound on 1-285 in Cobb County, Georgia, with Meagan


 Tucker as a passenger.


                                                   9.


        On or about the same time and place, Defendant Mohamud was driving a 20 1 5 Freightliner,


 when he negligently, recklessly, carelessly and unlawfully operated said truck so as to collide with


 the rear of Plaintiff’s vehicle causing damage to the vehicle operated by Plaintiff.


                                                  10.


       As a result of the collision, Plaintiffs suffered multiple injuries, requiring both to undergo


invasive surgery.



                                                  11.


        At all relevant times, Defendant Mohamud owed certain civil duties to Plaintiffs.


 Notwithstanding those duties, Defendant Mohamud did violate them in the following particulars:


        a.      In failing to make reasonable and proper observations while driving the 2015


                Freightliner truck; or, if reasonable and proper observations were made, failing to


                act thereon;


        b.      In following too closely in violation of O.C.G.A. § 40-6-49;


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           c.       In failing to make timely and proper application of his brakes in violation of


                    O.C.G.A. § 40-6-241;


           d.       In failing to observe or undertake the necessary precautions to keep the 2015


                    Freightliner from colliding with the Plaintiffs’ vehicle;


                    O.C.G.A. § 40-6-390;


           e.       In driving the 2015 Freightliner truck without due caution, care, and circumspection


                    and in a manner so as to endanger the person and/or property of others in the


                    immediate vicinity in violation of O.C.G.A. § 40-6-241;


           f.       In driving the 2015 Freightliner truck in reckless disregard for the safety of persons


                    and/or property in violation of O.C.G.A. § 40-6-390; and


           g-       In committing other negligent and reckless acts and omissions as may be shown by


                    the evidence and proven at trial.


                                                        12.


          Defendant Mohamud’s violations of the aforementioned duties of care constitute negligence


per se.




                                                        13.


          As a direct and proximate result of the aforesaid negligence and breaches of duty by


 Defendant Mohamud, Plaintiffs have suffered significant injuries, medical expenses, and damages.


 These damages include emotional distress, personal inconvenience, mental and physical pain and


 suffering, loss of enjoyment of life, due to the violence of the collision and injuries to the Plaintiff’s


 body and nervous system, lost wages, plus an inability to lead a normal life. As a result ofthe subject


 collision, Plaintiff Brian Tucker has incurred in excess of $19,000 in past medical expenses, and



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general damages exceeding $75,000; and Plaintiff Meagan Tucker has incurred in excess of


$24,000 in past medicals, and general damages exceeding $75,000.




       COUNT II - NEGLIGENCE OF DEFENDANT NGL EXPRESS, LLC


                                                14.


       Plaintiffs reallege and incorporate herein by reference paragraphs 1 through 13 above as if


they were fully restated verbatim.


                                                15.


       At all relevant times, Defendant Mohamud was an employee and agent of Defendant NGL


Express, LLC, and Defendant Mohamud was driving the 2015 Freightliner within the course and


scope of his employment with Defendant NGL Express, LLC


                                                16.


       Defendant NGL Express, LLC is liable for the acts and omissions of Defendant Mohamud


as Defendant Mohamud was an agent and employee at the time of the collision-in-suit, under the


theory of respondeat superior.


                                                17.


       Defendant NGL Express, LLC negligently hired, retained, and supervised Defendant


Mohamud.


                                                18.


       Defendant NGL Express, LLC negligently entrusted the 2015 Freightliner tractor trailer to


Defendant Mohamud when they knew or should have known that its driver was incompetent or


unfit to perform the duties given to the driver by the company.



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                                                  19.


        As a direct and proximate result of the aforesaid negligence and breaches of duty by


Defendant NGL Express, LLC, Plaintiffs have suffered significant injuries, medical expenses, and


damages. These damages include emotional distress, personal inconvenience, mental and physical


pain and suffering, loss of enjoyment of life, due to the violence of the collision and injuries to the


Plaintiff’s body and nervous system, plus an inability to lead a normal life. Plaintiff Brian Tucker


has incurred in excess of $19,000 in past medical expenses, and general damages exceeding


$75,000; and Plaintiff Meagan Tucker has incurred in excess of $24,000 in past medicals, and


general damages exceeding $75,000.


                                            CONTRACT


                                                 20.


        Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 19 above as


if they were fully restated verbatim.


                                                 21.


        At the time of the collision-in-suit, on July 17, 2021, Defendant Great West issued a policy


of liability insurance, Policy Number AM600GSTRAVEL0103, naming NGL Express, LLC as an


insured.


                                                  22.


        Great West, Policy Number AM600GSTRAVEL0103, was in effect on July 17, 2021, and


provides coverage for the negligent acts and omissions of NGL Express, LLC and Mohamud as a


result of the collision- in-suit.




                                                   6
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                                                     23.


        Defendant Great West is subject to suit by direct action pursuant to the provisions of


O.C.G.A. § 40-1-1 12(c).


                                                     24.


        Pursuant to the terms and conditions of its policy of insurance and applicable Georgia law,


Defendant Great West is liable to Plaintiffs, and responsible for payment of damages incurred by


and occasioned upon the Plaintiffs as a result of the negligent acts and omissions of Mohamud and


NGL Express, LLC


                                         PRAYER FOR RELIEF


        WHEREFORE, Plaintiffs respectfully pray and demand as follows:


        a.         That Process and Summons be issued, as provided by law, requiring Defendants to


appear and answer Plaintiffs’ Complaint;


        b.         That service be had upon Defendants as provided by law;


        c.         That Plaintiffs have and recover general damages from Defendants, as the jury


deems is liable to Plaintiffs, and in such an amount as the jury deems just and appropriate to fully


and completely compensate Plaintiffs for all of their injuries and pain and suffering, mental,


physical, and emotional, past, present, and future;


        d.         That Plaintiffs have and recover from Defendants, special damages for past and


future medical expenses and loss of income in the past and future in such an amount as shall be


proven at trial;


        e.         That this matter be tried to a jury;


        f          That all costs be cast against the Defendants; and




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       g-      For such other and further relief as this Court deems just and appropriate.


       This 27th day of May, 2022.

                                                     Respectfully submitted,


                                                     /s/ Shellea D. Crochet
                                                     SHELLEA D. CROCHET
                                                     Georgia Bar No. 735805
                                                     Attorney for Plaintiff
MORGAN & MORGAN ATLANTA PLLC
191 Peachtree Street, N.E.
P.O. Box 57007
Atlanta, Georgia 30343-1007
Tel: (404)965-8811
Fax: (404) 965-8812




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                                                                                         ID# E-BNCF4WYD-VKN
                                                                                             < EFILED IN OFFICE
                                                                                             CLERK OF STATE COURT
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                                                                                               22-A-1750
                           IN THE STATE COURT OF COBB COUNTY
                                                                                         MAY 27, 2022 12:20 PM
                                         STATE OF GEORGIA

                                                                                                Robin C. Bis   top, Clerk dr State Court
  BRIAN TUCKER and                                                                                               Cobb County, Georgia



  MEAGAN TUCKER


                  Plaintiffs,                               CIVIL ACTION
  vs.                                                       FILE NO:


  NGL EXPRESS, LLC, GREAT WEST
  CAUSILITY COMPANY, and                                     JURY TRIAL DEMANDED
  MUSTAFA MOHAMUD


                  Defendants.




         PLAINTIFF BRIAN TUCKER’S FIRST REQUEST FOR ADMISSIONS TO
                             DEFENDANT MUSTAFA MOHAMUD


TO:      Defendant MUSTAFA MOHAMUD


         COMES    NOW       Plaintiff,   BRIAN   TUCKER      and hereby    requests   that    Defendant


MUSTAFA MOHAMUD admit for the purpose of this action the truth of the following facts


within forty-five (45) days after the date of service hereof and in conformity with O.C.G.A. § 9-


11-36.   If any request cannot be truthfully admitted or denied, please state in detail the reasons


why you cannot truthfully admit or deny the matter. If you cannot admit or deny the request in its


entirety, please specify that part which you cannot admit or deny and state in detail the reasons for


any such qualifications.    If you assert any claim of privilege in response to any or all of these


requests, set forth, with respect to each such request(s) as to which a claim of privilege is asserted,


the nature of the privilege claimed (e.g. attorney-client, work-product, etc.) and the basis for


your claim.
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                                 REQUESTS FOR ADMISSIONS


                                                  1.


          Please admit that at the time of the incident-in-suit you were driving the 2015 Freightliner


Tractor Trailer within the course and scope of your employment with NGL Express, LLC


                                                   2.


          Please admit that this action is brought against the Defendants properly and correctly name


the parties to be sued in this case.


                                                   3.


          Please admit that you were served with the Summons and Complaint in the above-styled


action.


                                                       4.


          Please admit that the 2015 Freightliner Tractor Trailer operated by Defendant was either


owned by Defendant or was being operated by Defendant with the knowledge, permission and


consent of its owner.


                                                       5.


          Please admit that Defendant was negligent in the operation of the 2015 Freightliner Tractor


Trailer which resulted in the subject collision with Plaintiffs' vehicle.
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                                                   6.


        Please admit that Defendant received a citation issued by the investigating law enforcement


agency arising out of the subject collision.


                                                   7.


        Please admit that Defendant pled guilty to said citation in connection with the subject


collision.


                                                   8.


        Please admit that Plaintiffs were injured in the subject collision.


                                                   9.


        Please admit that the Plaintiffs’ actions did not cause or contribute to the subject collision.


                                                   10.


        Please admit that Plaintiffs incurred medical expenses for treatment of injuries resulting


from the subject collision.


                                                    11.


        Please admit that Plaintiffs' medical expenses were reasonable and necessary for the care


and treatment of the injuries sustained in the subject collision.


                                                  13.


        Please admit that service of process was proper as to Defendant Mohamud.


                                                  14.


        Please admit that venue for the above styled action is proper in Cobb County, Georgia.
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                                            15.


       Please admit that this court has personal jurisdiction over Defendant Mohamud for


purposes of this lawsuit.


       This Request for Admissions is served upon you together with Plaintiff’s Summons and


Complaint.


       This 27th day of May, 2022.
                                                       /s/ Shellea D. Crochet
                                                        SHELLEA D. CROCHET
                                                        Georgia Bar No. 735805
                                                        Attorney for Plaintiff
MORGAN & MORGAN ATLANTA PLLC
191 Peachtree Street, N.E.
P.O. Box 57007
Atlanta, Georgia 30343-1007
Tel: (404)965-8811
Fax: (404) 965-8812
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                         IN THE STATE COURT OF COBB COUNTY
                                    STATE OF GEORGIA


 BRIAN TUCKER,


                 Plaintiff,
 vs.                                                    CIVIL ACTION
                                                        FILE NO:
 MUSTAFA MOHAMUD, NGL
 EXPRESS, LLC, AND GREAT WEST
 CASUALTY COMPANY,                                       JURY TRIAL DEMANDED


                 Defendants.




PLAINTIFF BRIAN TUCKER’S FIRST SET OF INTERROGATORIES AND REQUEST
   FOR PRODUCTION OF DOCUMENTS TO DEFENDANT MUSTAFA MOHAMUD


TO:     Defendant MUSTAFA MOHAMUD


        Plaintiff, pursuant to O.C.G.A. §§ 9-11-33 and 9-11-34, submits herewith to the above-


named Defendant (hereinafter referred to “you” or “your”) for response within forty-five (45) days


after service hereof, in the form provided by law, the following interrogatories and request for


production of documents.


        You are required, when answering these interrogatories, to furnish all information that is


available to you, your attorneys or agents, and anyone else acting on your behalf If the complete


answer to an interrogatory is not known to you, you shall so state and answer the interrogatory to


the fullest extent possible.


        These interrogatories are deemed to be continuing and you are required to provide, by way


of supplementary answers to these interrogatories, such additional information as may be obtained


hereafter by you, your attorneys or agents, or anyone else acting on your behalf, which information


will augment or modify any answer given to the attached interrogatories. All such supplemental




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answers must be filed and served upon the counsel of record for the above-named Plaintiff within


a reasonable time after discovery or receipt of such additional information, but in no event later


than the time of the trial.


        The documents requested to be produced for inspection and copying are to be produced at


the offices of Morgan & Morgan, PLLC, 191 Peachtree Street N.E., Suite 4200, Atlanta, Georgia


30303 within forty-five (45) days following receipt of this request unless the 45th day falls on a


holiday or weekend, in which event the production will take place on the Monday following the


45th day; or in the event the time for response is shortened by court order, then the shorter time


frame shall be applicable. In lieu of this, you may attach copies thereof to your answers to these


interrogatories.


        You are also required, pursuant to the Civil Practice Act, to produce at trial the materials


and documents requested herein.


        The following definitions and instructions are applicable to each interrogatory unless


negated by the context:


I.      DEFINITIONS


        “Document” means any written, recorded, or graphic matter in whatever form, including


copies, drafts, and reproductions thereof to which you have or have had access, including, but not


limited to, correspondence, memoranda, tapes, stenographic or handwritten notes, studies,


publications, books, contracts, agreements, checks, bills, invoices, pamphlets, pictures, films,


voice recordings, maps, graphs, reports, surveys, minutes of statistical compilations; every copy


of such writing or record where the original is not in your possession, custody or control, and every




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copy of such writing or record where such copy is not an identical copy of an original or where


such copy contains any commentary or notation whatsoever that does not appear on the original.


       “Person” shall mean a natural person, proprietorship, partnership, corporation, cooperative,


association, firm, group, or any other organization or entity.


       “Communication” means the transmittal of information from one or more persons to


another person or persons, whether the medium for transmittal be oral, written or electronic.


       “Date” shall mean the exact day, month and year, if ascertainable, or if not, the best


available approximation (including relationship to other events).


       “Identify” or “Identity”, when used in reference to:


       (a)     an individual, shall mean to state the full name, present or last known residence


address (designating which), residence telephone number, present or last known employment


address (designating which), employment telephone number, and employment title or capacity.


       (b)     a firm, partnership, corporation, proprietorship, association or other organization or


entity, shall mean to state its full name and present or last known address (designating which) and


the legal form of such entity or organization.


       (c)     document shall mean to state: the title (if any), the date, author, sender, recipient,


the identity of person signing it, type of document (i.e., a letter, memorandum, notation, book,


telegram, chart, etc.) or some other means of identifying it, and its present location or custodian.


In the case of a document that was, but is no longer, in the possession, custody or control of


Defendant, state what disposition was made of it, why, when and by whom.


       Whenever the context so requires, the plural shall include the singular, the singular the


plural, the masculine the feminine and neuter, and the neuter the masculine and feminine.




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                                   II.   INTERROGATORIES


                                                  1.


       Please state your full name, current address, current employer, date of birth, social security


number, and driver’s license number.


                                                  2.


       State the name and address of any person, including any party, who to your knowledge


information or belief:


       (a)     was an eyewitness to the incident underlying this litigation;


       (b)     has some knowledge of any fact or circumstance upon which your defense is


               based; or


       (c)     has conducted any investigation relating to the incident underlying this litigation


               or the background, employment, medical history or activities of the Plaintiff.


                                                  3.


       Please identify any and all statements or reports given by any person identified in your


response to Interrogatory No. 2.


                                                  4.


       Has any entity issued a policy of liability insurance to you or which is or arguably should


be extending insurance coverage to you? If so, please state for each policy:


       (a)     the name of the insurer providing liability insurance;


       (b)     the limits of coverage;


       (c)     the name of the insured on the policy; and


       (d)     the policy number.




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                                                    5.


        Has any insurer referred to in your answer to Interrogatory No. 4 denied coverage or


reserved its rights to later deny coverage under any such policy of liability insurance? If so, please


explain.


                                                    6.


        State each and every fact supporting your contention that the Plaintiff’s actions contributed


to the incident underlying this litigation and identify:


        (a)     each eyewitness that will testify to those facts; and


        (b)     each and every document or tangible piece of evidence that will evidence those


                facts.


                                                    7.


        If you intend to call any expert or technician as a witness at the trial of this action, for each


expert or technician please:


        (a)     state the subject matter on which s/he is expected to testify;


        (b)     state in detail the opinions held by each such expert or technician; and


        (c)     give a complete summary of the grounds for each opinion held.


                                                    8.


        Were you on the business of any individual or entity at the time of the subject incident? If


so, please identify any such individual or entity, including name, address and telephone number.


                                                    9.


        If you have ever been arrested or convicted of any crime (other than minor traffic offenses),


even if that arrest or conviction has been removed from your record, please identify each crime or




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alleged violation, date of arrest, the arresting authority, the court in which any criminal proceeding


against you was held, and the disposition of each charge. (See Lewis v. The State, 243 Ga. 443;


Hightower v. G.M., 175 Ga. App. 112).


                                                    10.


       Please state each and every prior collision or prior insurance claim which you are aware


the Plaintiff has been involved in, or the Plaintiff has made, and state whether your agents have


procured an ISO claims index report.


                                                    11.


        State each and every fact supporting your contention that the Plaintiff’s alleged injuries


pre-existed the incident underlying this litigation and identify:


       (a)     each eyewitness that will testify to those facts; and


       (b)     each and every document or tangible piece of evidence that will evidence those


               facts.


                                                    12.


        State each and every fact supporting your contention that the Plaintiff has uttered


inconsistent statements with regard to material facts at issue in this litigation and identify:


       (a)     each eyewitness that will testify to those facts; and


       (b)     each and every document or tangible piece of evidence that will evidence those


               facts.


                                                    13.


       If you contend that the Plaintiff has been convicted of or pled guilty to a crime of moral


turpitude and/or felony, please identify:




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        (a)    each eyewitness that will testify to those facts; and


        (b)    each and every document or tangible piece of evidence that will evidence those


               facts.


                                                   14.


        What do you contend caused the incident underlying this litigation?


                                                   15.


        State each and every fact supporting your contention that you are not the sole proximate


cause of the incident underlying this litigation and identify:


        (a)    each eyewitness that will testify to those facts; and


        (b)    each and every document or tangible piece of evidence that will evidence those


               facts.


                                                   16.


        What was/were the disposition(s) of the traffic citation(s) issued to you in relation to the


incident underlying this litigation?


                                                   17.


        Do you contend that any of the named Defendants have been improperly named as parties


to this action and/or that improper or incorrect agents for service were utilized to effectuate service


upon the Defendants? If your answer to either of these inquiries is “yes”, please provide a detailed


explanation as to why you contend that the named Defendants have been improperly named or the


agents used for service were improper and provide the complete and correct name of the entities


or individuals you contend should have been named and/or served.




                                                   7
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                                                    18.


        Do you contend that venue is improper in this court as to any of the named Defendants,


jurisdiction is lacking over any of the named Defendants in this Court, or that service of process


has been deficient on any of the named Defendants in this matter? If so, please describe and state


with specificity all factual and legal basis supporting any such contentions ).


                                                    19.


        With regard to the subject truck being operated at the time of the subject incident, please


identify:


        (a)    the owner and/or lessee of the vehicle;


        (b)    the frequency with which you drove the vehicle;


        (c)    who paid for the gas and maintenance on the vehicle; and


        (d)    if you did not own the vehicle, state whether or not you had the permission of the


               owner/lessee to be driving the vehicle at the time of the subject incident.


                                                    20.


        Do you have a driver’s license?     If so, please state when you first acquired any driver’s


license, what type it is, and what are/were the restrictions on it.


                                                    21.


        At any other time, either before or after the subject incident, have you ever been arrested


for driving under the influence or for any other drug or alcohol related charge?


                                                    22.


        What is your citizenship and identify any documents supporting your contention.




                                                   8
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                                                  23.


        For each request to admit that you denied, please identify:


        (a)     each eyewitness that will testify to those facts supporting your denial; and


        (b)     each and every document or tangible piece of evidence that will evidence facts


                supporting your denial.




III.    REQUEST FOR PRODUCTION OF DOCUMENTS



                                                  1.
        Any and all videotapes, photographs, plats or drawings of the vehicles, parties, scene of


the incident, the water bottle from your vehicle, or any other matter material to the incident


underlying this litigation.


                                                 2.


        Any and all videotapes, photographs, reports, data, memoranda, handwritten notes, or other


documents reviewed by or generated by any expert or technician identified in your response to


Interrogatory No. 7.


                                                 3.


        Any and all medical records, videotapes, photographs or other evidence concerning,


referencing or depicting Plaintiff.


                                                 4.


        A copy of any and all photographs and/or videotapes depicting the Plaintiff doing anything.


                                                 5.




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        Any and all documents obtained through a request for production of documents or


subpoena.


                                                 6.


        Any and all documents regarding the property damage estimate of repairs and/or repair


bills which you claim were sustained as a result of the incident.


                                                 7.


        Any and all documents which would in any way challenge, diminish or refute any of the


Plaintiff’s claimed injuries, medical and/or hospital bills, or lost earnings related to the subject


incident.


                                                 8.


        Any and all insurance policies, including declarations pages, which might provide benefits


related to the subject incident regardless of whether the insurer agrees there was coverage.


                                                 9.


        Any and all taped or written statements taken from Plaintiff, or any other potential


witnesses to this lawsuit, by anyone acting on behalf of Defendants or Defendants’ insurer(s).


                                                 10.


        Any and all documents, books, writings or other tangible things which support any defenses


you rely upon in your defense to this lawsuit.


                                                 11.


        A copy of the title and tag registration on the vehicle you were driving at the time of the


subject incident.




                                                 10
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                                                    12.


        Any and all documents reflecting the disposition of any charges made against you in the


subject incident, including the citations identified in your answer to Interrogatory No. 16.


                                                    13.


        A copy of your current driver’s license and all drivers’ licenses you have held in the past


five (5) years.


                                                    14.


        Any and all documents related to Plaintiffs medical treatment for injuries allegedly


received in the subject incident.


                                                    15.


        Any and all documents related to the medical treatment Plaintiff received prior to the


subject incident.


                                                    16.


        Any and all documents which you contend in any way impeach or discredit the Plaintiff.


                                                    17.


        For any document which has not been produced on grounds of privilege, please state the


following:


        (a)       the date each document was generated;


        (b)       the person generating each document;


        (c)       the present custodian of each document; and


        (d)       a description of each document.




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       These Interrogatories and Request for Production of Documents are served upon you


together with Plaintiff’s Complaint.


               This 27th day of May, 2022.

                                                  Respectfully submitted,


                                                  /s/ Shellea D. Crochet
                                                  SHELLEA D. CROCHET
                                                  Georgia Bar No. 735805
                                                  Attorney for Plaintiff
MORGAN & MORGAN ATLANTA PLLC
191 Peachtree Street, N.E.
P.O. Box 57007
Atlanta, Georgia 30343-1007
Tel: (404)965-8811
Fax: (404) 965-8812




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                         IN THE STATE COURT OF COBB COUNTY
                                       STATE OF GEORGIA


 BRIAN TUCKER,


                 Plaintiff,
 vs.                                                        CIVIL ACTION
                                                            FILE NO:
 MUSTAFA MOHAMUD, NGL
 EXPRESS, LLC, AND GREAT WEST
 CASUALTY COMPANY,                                           JURY TRIAL DEMANDED


                 Defendants.




          PLAINTIFF BRIAN TUCKER’S FIRST REQUEST FOR ADMISSIONS
                              TO DEFENDANT NGL EXPRESS, LLC,


        COMES NOW Plaintiff, BRIAN TUCKER, hereby requests that Defendant NGL Express,


LLC, admit for the purpose of this action the truth of the following facts within forty-five (45)


days after the date of service hereof and in conformity with O.C.G.A. § 9-11-36. If any request


cannot be truthfully admitted or denied, please state in detail the reasons why you cannot truthfully


admit or deny the matter.     If you cannot admit or deny the request in its entirety, please specify


that part which you cannot admit or deny and state in detail the reasons for any such qualifications.


If you assert any claim of privilege in response to any or all of these requests, set forth, with respect


to each such request(s) as to which a claim of privilege is asserted, the nature of the privileged


claimed (e.g. attorney- client, work-product, etc.) and the basis for your claim.




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The matters requested admitted are the following:


                                                 1.


        Please admit that Defendant NGL Express, LLC was personally served with the Summons


and Complaint in the above-styled action.


                                                2.


        Please admit that this Defendant has been properly served with process in this action.


                                                3.


        Please admit that this Defendant raises no defenses as to insufficiency of process or


insufficiency of service in this action.


                                                4.


        Please admit that venue for the above-styled case is proper in Cobb County, Georgia.


                                                5.


        Please admit that this Court has jurisdiction over Defendant NGL Express, LLC for the


purpose of this lawsuit.


                                                6.


        Please admit that Mohamud was the employee of Defendant NGL Express, LLC at the time


of the subject collision.


                                                7.


        Please admit that Defendant Mohamud was operating the 2015 Freightliner Tractor Trailer


at the time of the collision in the course and scope of this employment with Defendant NGL


Express, LLC.




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                                               8.


        Please admit that Defendant Mohamud was driving the subject 2015 Freightliner Tractor


Trailer within the course and scope of this agency relationship with Defendant NGL Express,


LLC at the time of the collision-in-suit.


                                               9.


        Please admit that Defendant Mohamud was driving the subject 2015 Freightliner Tractor


Trailer within the course and scope of his contractual relationship with Defendant NGL Express,


LLC at the time of the collision-in-suit.


                                              10.


        Please admit that Defendant Mustafa Mohamud was driving the subject 2015 Freightliner


Tractor Trailer within the course and scope his lease relationship with Defendant NGL Express,


LLC at the time of the collision-in-suit.


                                              11.


        Please admit that Defendant NGL Express, LLC is liable under the doctrine of respondeat


superior for the negligent acts and omissions of Defendant Mustafa Mohamud, at the time of the


subject collision.


        This 27th of May, 2022.

                                                    Respectfully submitted,


                                                    /s/ Shellea D. Crochet
                                                    SHELLEA D. CROCHET
                                                    Georgia Bar No. 735805
                                                    Attorney for Plaintiff
MORGAN & MORGAN ATLANTA PLLC
191 Peachtree Street, N.E.
Atlanta, Georgia 30303
Tel: (404)965-8811




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                         IN THE STATE COURT OF COBB COUNTY
                                    STATE OF GEORGIA


 BRIAN TUCKER,


                 Plaintiff,
 vs.                                                    CIVIL ACTION
                                                        FILE NO:
 MUSTAFA MOHAMUD, NGL
 EXPRESS, LLC, AND GREAT WEST
 CASUALTY COMPANY,                                       JURY TRIAL DEMANDED


                 Defendants.




PLAINTIFF BRIAN TUCKER’S FIRST SET OF INTERROGATORIES AND REQUEST
       FOR PRODUCTION OF DOCUMENTS TO DEFENDANT NGL EXPRESS, LLC


        Plaintiff, pursuant to O.C.G.A. §§ 9-11-33 and 9-11-34, submits herewith to the above-


named Defendant (hereinafter referred to “you” or “your”) for response within forty-five (45) days


after service hereof, in the form provided by law, the following interrogatories and request for


production of documents.


        You are required, when answering these interrogatories, to furnish all information that is


available to you, your attorneys or agents, and anyone else acting on your behalf If the complete


answer to an interrogatory is not known to you, you shall so state and answer the interrogatory to


the fullest extent possible.


        These interrogatories are deemed to be continuing and you are required to provide, by way


of supplementary answers to these interrogatories, such additional information as may be obtained


hereafter by you, your attorneys or agents, or anyone else acting on your behalf, which information


will augment or modify any answer given to the attached interrogatories. All such supplemental


answers must be filed and served upon the counsel of record for the above-named Plaintiff within




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a reasonable time after discovery or receipt of such additional information, but in no event later


than the time of the trial.


        The documents requested to be produced for inspection and copying are to be produced at


the offices of Morgan & Morgan, P.A., 191 Peachtree Street N.E., Suite 4200, Atlanta, Georgia


30303 within forty-five (45) days following receipt of this request unless the 45th day falls on a


holiday or weekend, in which event the production will take place on the Monday following the


45th day; or in the event the time for response is shortened by court order, then the shorter time


frame shall be applicable. In lieu of this, you may attach copies thereof to your answers to these


interrogatories.


        You are also required, pursuant to the Civil Practice Act, to produce at trial the materials


and documents requested herein.


        The following definitions and instructions are applicable to each interrogatory unless


negated by the context:


I.      DEFINITIONS


        “Document” means any written, recorded, or graphic matter in whatever form, including


copies, drafts, and reproductions thereof to which you have or have had access, including, but not


limited to, correspondence, memoranda, tapes, stenographic or handwritten notes, studies,


publications, books, contracts, agreements, checks, bills, invoices, pamphlets, pictures, films,


voice recordings, maps, graphs, reports, surveys, minutes of statistical compilations; every copy


of such writing or record where the original is not in your possession, custody or control, and every


copy of such writing or record where such copy is not an identical copy of an original or where


such copy contains any commentary or notation whatsoever that does not appear on the original.




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       “Person” shall mean a natural person, proprietorship, partnership, corporation, cooperative,


association, firm, group, or any other organization or entity.


       “Communication” means the transmittal of information from one or more persons to


another person or persons, whether the medium for transmittal be oral, written or electronic.


       “Date” shall mean the exact day, month and year, if ascertainable, or if not, the best


available approximation (including relationship to other events).


       “Identify” or “Identity”, when used in reference to:


       (a)     an individual, shall mean to state the full name, present or last known residence


address (designating which), residence telephone number, present or last known employment


address (designating which), employment telephone number, and employment title or capacity.


       (b)     a firm, partnership, corporation, proprietorship, association or other organization or


entity, shall mean to state its full name and present or last known address (designating which) and


the legal form of such entity or organization.


       (c)     document shall mean to state: the title (if any), the date, author, sender, recipient,


the identity of person signing it, type of document (i.e., a letter, memorandum, notation, book,


telegram, chart, etc.) or some other means of identifying it, and its present location or custodian.


In the case of a document that was, but is no longer, in the possession, custody or control of


Defendant, state what disposition was made of it, why, when and by whom.


       Whenever the context so requires, the plural shall include the singular, the singular the


plural, the masculine the feminine and neuter, and the neuter the masculine and feminine.




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                                         INTERROGATORIES


                                                     1.


          Please identify the persons or entities who in any way owned and/or leased the subject


truck or trailer referred to in the Complaint at the time of the incident involving the Plaintiff If the


ownership changed at any time since said occurrence, please identify every subsequent person or


entity.


                                                     2.


          Please state the factual basis for your assertions, if any, that this Court lacks jurisdiction or


venue over Defendants, that there has been an insufficiency of process of service of Plaintiff’s


Complaint, and/or that there has been an insufficiency of service of process upon the Defendants.


                                                     3.


          Please state whether Mustafa Mohamud was acting within the course and scope of his


employment with Defendant at the time of the incident at issue. If you claim he was not acting


within the course and scope of his employment, please detail the basis of your denial.


                                                     4.


          Please state the name and address of any potential party to this lawsuit, not already a party,


and state your claims and reasons for same.


                                                     5.


          If the truck involved in the subject incident belongs to someone other than this Defendant,


please explain the circumstances under which the vehicle came into the possession of the operator,


the purpose for which the vehicle was being used and its destination.




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                                                   6.


        If you have ever been a Defendant in a lawsuit involving personal injuries in Georgia,


identify the person(s) involved, give the style and number of the case, the nature of the litigation


and the court before which the suit was filed.


                                                   7.


        State specifically and in detail when, where and how you claim the occurrence happened


which is the basis of this lawsuit.


                                                   8.


        Identify all United States statutes, state statutes, city ordinances, county ordinances, and all


other governmental laws, rules or regulations which you contend the Plaintiff violated with respect


to the incident giving rise to this lawsuit.


                                                   9.


        Give the name, address and telephone number of all persons that to you or your


representative's knowledge, information or belief were eyewitnesses to the incident giving rise to


this lawsuit or have knowledge of any fact or circumstance regarding the incident giving rise to


this lawsuit.


                                                  10.


        State the name, address and employer of all persons who to your knowledge, information


or belief have investigated any aspect of the occurrence which is the subject of this litigation, and


indicate whether or not each has made a written record of the investigation or any part thereof.




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                                                  11.


        Please state the name and address of all expert witnesses or professional consultants


retained or consulted by you or on your behalf to make an evaluation or investigation of the cause


of the occurrence giving rise to this lawsuit or the damages sustained by Plaintiff This request


includes each expert expected to testify at trial and state the subject matter the expert is expected


to testify about, the substance of the facts and opinions to which the expert is expected to testify,


and give a summary of the grounds for each opinion. See O.C.G.A. § 9- 1 l-26(b)(4)(A)(i). Please


note that this interrogatory applies to all expert witnesses including all practitioners of the healing


arts.


                                                  12.


        With regard to each statement (oral, written, recorded, court or deposition transcript, etc.)


taken from any person with knowledge relevant to this lawsuit, please state the name of each


person giving each statement, the name and address of the person or entity taking each statement,


the date each statement was taken, and the name and address of each person having possession,


custody or control of each statement.


                                                  13.


        Please identify with specificity any accident or incident involving personal injuries in


which Defendant Mohamud has been involved, either before or after the incident that is the subject


matter of this litigation, including the date, time and place of occurrence, the name, address and


telephone number of all parties involved in said accident, the address of the investigating police


department, personal injuries, if any, claimed in such accident and a short description of how the


accident occurred.




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                                                  14.


        Describe with particularity all photographs, charts, diagrams, videotapes, documents,


illustrations, and/or other tangible items, of any person, place or thing involved in this lawsuit,


giving the date each was made and the name and address of the person(s) with possession, custody


or control of each item. (NOTE: You need not describe any document that was produced and


specifically listed as having been produced in your responses to Plaintiffs' first request for


production of documents.)


                                                  15.


        State the substance of each conversation you had with Plaintiff or any representative of


Plaintiff at any time.


                                                  16.


        For the date of the incident that is the subject of this lawsuit, state the times in which


Mohamud went to work and the times he quit work on that date, and on each of the previous seven


(7) days.


                                                  17.


        Please state the point of origin, the destination, the reason for the trip, and at whose


request was Defendant Mohamud driving the subject truck or tractor trailer at the time of the


incident described in Plaintiffs Complaint.


                                                  18.


        If Defendant Mohamud has ever been given a citation for traffic offenses or a work


reprimand preceding the incident which is the subject of this lawsuit, please state the date and


place where the citation(s) or reprimands were issued and the disposition(s) of each.




                                                  10
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                                                  19.


        Please state the make, year, weight and model of the subject truck or tractor and trailer


involved in the incident, and please identify the last date preceding the incident on which the tires


were replaced or repaired on the vehicle, and please identify all mechanical repairs or services to


the trailer preceding the crash.


                                                  20.


        Has Defendant Mohamud ever had a driver's license suspended, canceled, revoked, or


containing any restrictions of any sort in the past, at the time of the incident, or after the incident


forming the basis of Plaintiff’s Complaint?


                                                  21.


        Please state the factual basis for each defense that you assert in this action.


                                                  22.


        If you contend that the Plaintiff, Wade acted, or failed to act, in a manner as to cause or


contribute to the occurrence made the basis of this suit, please set forth each and every fact or act


upon which your contention is based.


                                                  23.


        For each insurance agreement that may be liable to satisfy part or all of a judgment which


may be entered in this action or to indemnify or reimburse you for payments made to satisfy this


judgment, please state the name and address of each insurer, the amount of coverage available to


satisfy such a judgment, and any conditions upon which the insurer has purported to reserve its


rights to decline coverage.




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                                                  24.


       Please identify any and all documentary or other tangible evidence, not previously


identified or produced, which you believe demonstrates and/or supports facts relevant to the claims


and/or defenses in this case.


                                                  25.


       Please identify all policies and procedures in effect to supervise and regulate drivers of


Defendants to determine their ability to safely operate and maintain tractor-trailer vehicles, such


as the vehicle forming the basis of Plaintiff’s Complaint.


                                                  26.


       Did you make a determination as to whether this incident was preventable by or chargeable


to Mohamud? If so, please state your determination and the reasons therefore.


                                                  27.


       As to each statement or report, written, taped or otherwise, which has been made by any


person concerning the occurrence complained of, please describe each such statement or report,


giving as to each such statement or report the name of the person giving such statement or report,


the date of same and the present location of such statement or report or any copy thereof.


                                                  28.


       If you, your attorney, your insurance carrier or anyone acting on your or their behalf, have


or know of any photographs, motion pictures, maps, drawings, diagrams, measurements, surveys


or other descriptions concerning the events and happenings alleged in the Complaint, scene of the


accident, the area, or persons, or vehicles involved made either before, after or at the time of the


event in question, as to each such item, state:




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        a)     what each such item purports to show, illustrate or represent;


        b)     the date it was made or taken; and


        c)     the names and address of the person having custody of such item.


                                                 29.


        Do you know of any test(s), experiment(s) or accident reconstruction(s) which in any way


illustrate or demonstrate either the manner of the occurrence or any contributing cause of the


occurrence? If so, state the full name, address and telephone numbers of any person performing


such test(s), experiment(s) or reconstruction(s), and provide a summary of any findings.


                                                 30.


        Please state by whom Defendant Mohamud was given permission to operate the subject


truck or tractor trailer and on what date authorization was given.


                                                 31.


        Detail each and every arrangement or agreement between Mohamud and NGL Express,


LLC or any other individual or entity under which Mohamud was performing services at the time


of the subject incident.


                                                 32.


        State the date and time of each and every inspection of the subject truck or tractor and


trailer prior to this incident. For each inspection, detail how the inspection was performed, identify


who was present and the results of the inspection.


                                                 33.


        Are you a motor common carrier for hire?




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                                                   34.


        Please state the names, addresses and job positions of all operations managers who were


either working at the time of this incident or have knowledge of this incident.


                                                   35.


        Please state whether you have attempted to surveil or observe Plaintiff at any time after the


collision forming the basis of Plaintiff’s Complaint, and state whether any video tapes, pictures or


reports were taken or made regarding such surveillance, the date(s) the surveillance was conducted,


and the person who conducted the surveillance or observation. (NOTE: This Interrogatory is broad


and seeks to discover all post-collision surveillance even if such attempts were unsuccessful.)


                                                   36.


        Please provide the present location of the tractor trailer involved in this incident, state


whether it has been altered or repaired following the incident, and identify the nature of the


alteration or repairs, the person or entity who made such alterations or repairs, and any


documentation regarding such alteration or repairs.


                                                   37.


        Please state whether Defendant Mohamud received any verbal or written disciplinary


action as a result of the incident at issue, and if so, please state the nature of the discipline, identify


all persons with knowledge of the disciplinary action, and the result of such action.


                                                   38.


        Please identify whether the subject truck or tractor trailer driven by Defendant Mohamud


was equipped with any monitoring or recording devices (i.e., a "black box") at the time of the


incident at issue, and if so, please identify all documents generated there from.




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                                REQUEST FOR PRODUCTION


       Defendant is requested to produce and identify each of the following:


                                                 1.


       All accident reports, documents, photographs, charts, diagrams, videotapes, and other


illustrations of any person, place or thing involved in this lawsuit including but not limited to the


scene of the incident where the incident is alleged to have occurred, any instrumentality alleged to


have caused the alleged damages, damaged parts of any vehicle or equipment, or any other relevant


event or thing which is the subject of this Complaint.


                                                 2.


       Copies of any and all statements, whether recorded, oral or otherwise, in your control or


obtained on your behalf


                                                 3.


       All documents evidencing, reflecting, relating to or constituting any communication


between Defendants and Plaintiffs or any third person or entity relating to the incident or matters


involved in this lawsuit, including without limitation all correspondence, letters, notes, tapes,


memoranda, and any other evidence of communications that in any way relates to this incident.


                                                 4.


       The original or a certified true and accurate copy of the declaration sheet or coverage page


and all applicable insurance policies that may provide coverage or benefits to the Defendants in


connection with this occurrence, including any coverage available to Defendant         (This request


seeks each and every policy that may provide coverage in any amount.)




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                                                  5.


        Copies of any and all transcripts from any investigation, hearing or any judicial or quasi


judicial hearing or investigation relating to the incident giving rise to this Complaint.


                                                  6.


        Copies of the entire file, bills, all reports, memoranda or notes from any expert who has


investigated any aspect or element of the subject incident or who you intend to call as a witness.


                                                  7.


        The complete personnel file of Mustafa Mohamud.


                                                  8.


        Please produce Mustafa Mohamud driver's qualification file.


                                                  9.


        Please provide all maintenance and repair records on the truck and/or tractor and trailer


involved in this incident, including the vehicle maintenance file and all documents created as a


result of the incident in question. (This request also includes all documents, purchase invoices,


repair estimates, previous damage, repair or maintenance documents, appraisals, property damage


reports, daily vehicle condition report or inspection report, or any tangible evidence pertaining to


the upkeep of the tractor and trailer involved in the occurrence which is the subject matter of this


civil action.)


                                                  10.


        All documents evidencing, reflecting, and/or relating to any damage or expenses that you


received, incurred or obtained as a result of this incident, including copies of any and all repair




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estimates or other statements reflecting any value and/or the extent of the damage to your truck,


trailer or equipment at issue.


                                                  11.


         Each document submitted by you, or received from the police, the Interstate Commerce


Commission, Department of Transportation or any other State, Federal or municipal entity


investigating this incident.


                                                  12.


         All policies or procedures regarding the inspection and maintenance of your truck and/or


tractor and trailer and any inspection records for the truck and/or tractor and trailer involved in the


subject incident.


                                                  13.


         Any and all documents in any way pertaining to Mustafa Mohamud reflecting or regarding


his driver log books, driver's qualification file, personnel file, drug or alcohol tests, driver trip


reports, driver trip envelopes, incidents reports for this incident and any other collisions involving


Mustafa Mohamud, his driving history, drug tests, hours of service, record of duty status, orders


for the trip at issue in this case, hours of service for the preceding two weeks, or documents


regarding the operation of Defendants' equipment.


                                                  14.


         Any and all documents required to be maintained by DOT/CFR regulations, or Georgia's


motor vehicle laws, as it relates to Defendant Mohamud or the truck and/or tractor and trailer at


issue.




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                                                    15.


        Any and all documentary evidence or other tangible evidence which relates or is reasonably


calculated to lead to the discovery of relevant or admissible evidence regarding any of the


Plaintiff’s claims in this action or Defendants' defenses.


                                                    16.


        Copies of all company policies and procedures pertaining to the operation of trucks and


any policies and procedures that in anyway apply to, cover, or govern Mohamud’ employment.


                                                    17.


        Copies of all work orders, daily loads and/or work reports for July 17, 2021, as it relates to


the driver, truck, trailer, or trip which is the subject of this incident.


                                                    18.


        Copies of all documents or complaints for all personal injury claims or litigation involving


injuries resulting from a collision involving a vehicle prior to July 17, 2021.


                                                    19.


        All documents that you receive in response to your Requests for Production of


Documents to nonparties.


                                                    20.


        Any and all documents identified, referenced, or used to answer any of Plaintiff’s discovery


or supporting or relating to Plaintiff’s or Defendants' contentions of negligence.




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                                                  21.


        Please produce all books, documents and/or other tangible things which prove, support, or


constitute evidence of any facts or circumstances upon which you base the allegations in the


Answer or issues of liability.


                                                  22.


        Please produce the certificate of title, and/or other proof of ownership, and/or lease


agreement for the truck and/or tractor trailer involved in the wreck that is the subject matter of this


civil action.


                                                 23.


        Any and all documents that support your allegations, if any, that this Court lacks


jurisdiction over any Defendants, that there has been an insufficiency of process of service of


Plaintiff’s Complaint, and/or that there has been an insufficiency of service of process upon any


Defendants.


                                                  24.


        Copies of any and all reports, interoffice memoranda or other documents relating to


matters which are the subject of this Complaint.


                                                 25.


        Copies of any and all log books for Defendant Mohamud for the months of May 2021,


June, 2021, July, 2021, and October, 2021.




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                                               26.


       Copies of any and all documentary evidence which is relevant to any issue in this action


or which might lead to the discovery of other admissible evidence.


       This 27th day of May, 2022.

                                                     Respectfully submitted,


                                                     /s/ Shellea D. Crochet
                                                     SHELLEA D. CROCHET
                                                     Georgia Bar No. 735805
                                                     Attorney for Plaintiff
MORGAN & MORGAN ATLANTA PLLC
191 Peachtree Street, N.E.
P.O. Box 57007
Atlanta, Georgia 30343-1007
Tel: (404)965-8811
Fax: (404) 965-8812




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                        IN THE STATE COURT OF COBB COUNTY
                                     STATE OF GEORGIA


 BRIAN TUCKER,


                Plaintiff,
 vs.                                                      CIVIL ACTION
                                                          FILE NO:
 MUSTAFA MOHAMUD, NGL
 EXPRESS, LLC, AND GREAT WEST
 CASUALTY COMPANY,                                        JURY TRIAL DEMANDED


                Defendants.




          PLAINTIFF BRIAN TUCKER’S FIRST REQUEST FOR ADMISSONS
                         TO GREAT WEST CASUALTY COMPANY




       COMES NOW Plaintiff, BRIAN TUCKER and hereby requests that defendant Great West


Casualty Company admit for the purpose of this action the truth of the following facts within forty-


five (45) days after the date of service hereof and in conformity with O.C.G.A. § 9-11-36. If any


request cannot be truthfully admitted or denied, please state in detail the reasons why you cannot


truthfully admit or deny the matter. If you cannot admit or deny the request in its entirety, please


specify that part which you cannot admit or deny and state in detail the reasons for any such


qualifications. If you assert any claim of privilege in response to any or all of these requests, set


forth, with respect to each such request(s) as to which a claim of privilege is asserted, the nature


of the privilege claimed (e.g. attorney-client, work-product, etc.) and the basis for your claim.


Requests for admissions are not objectionable simply because they ask for opinions or conclusions


of law as long as the legal conclusions relate to the facts of the case. Bass & Co. v. Fulton County


Bd. of Tax Assessors, 268 Ga. 327, 486 S.E.2d 810 (1997).




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Please admit each of the following:


                                    REQUESTS FOR ADMISSIONS


                                                1.


        NGL Express, LLC is a “motor carrier” as defined in O.C.G.A. § 40-1-100.


                                               2.


       Great West is an appropriate party to this action under O.C.G.A. §40-1-1 12(c).


                                               3.


       Great West is in possession of pictures that depict the property damage to the vehicles


involved in this incident.


                                               4.


       The pictures of Plaintiff’s vehicle were taken before Great West was provided with a letter


of representation from Plaintiff’s attorney.


                                               5.


       The pictures were taken with an electronic camera that records metadata.


       This 27th day of May, 2022.

                                                     Respectfully submitted,


                                                     /s/ Shellea D. Crochet
                                                     SHELLEA D. CROCHET
                                                     Georgia Bar No. 735805
                                                     Attorney for Plaintiff
MORGAN & MORGAN ATLANTA PLLC
191 Peachtree Street, N.E.
P.O. Box 57007
Atlanta, Georgia 30343-1007
Tel: (404)965-8811
Fax: (404) 965-8812




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                         IN THE STATE COURT OF COBB COUNTY
                                    STATE OF GEORGIA


 BRIAN TUCKER,


                 Plaintiff,
 vs.                                                    CIVIL ACTION
                                                        FILE NO:
 MUSTAFA MOHAMUD, NGL
 EXPRESS, LLC, AND GREAT WEST
 CASUALTY COMPANY,                                       JURY TRIAL DEMANDED


                 Defendants.




       PLAINTIFF BRIAN TUCKER’S FIRST SET OF INTERROGATORIES AND
                   REQUEST FOR PRODUCTION OF DOCUMENTS TO
                   DEFENDANT GREAT WEST CASUALTY COMPANY


        Plaintiff, pursuant to O.C.G.A. §§ 9-11-33 and 9-11-34, submits herewith to the above-


named Defendant (hereinafter referred to “you” or “your”) for response within forty-five (45) days


after service hereof, in the form provided by law, the following interrogatories and request for


production of documents.


        You are required, when answering these interrogatories, to furnish all information that is


available to you, your attorneys or agents, and anyone else acting on your behalf If the complete


answer to an interrogatory is not known to you, you shall so state and answer the interrogatory to


the fullest extent possible.


        These interrogatories are deemed to be continuing and you are required to provide, by way


of supplementary answers to these interrogatories, such additional information as may be obtained


hereafter by you, your attorneys or agents, or anyone else acting on your behalf, which information


will augment or modify any answer given to the attached interrogatories. All such supplemental




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        Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 49 of 89




answers must be filed and served upon the counsel of record for the above-named Plaintiff within


a reasonable time after discovery or receipt of such additional information, but in no event later


than the time of the trial.


        The documents requested to be produced for inspection and copying are to be produced at


the offices of Morgan & Morgan, PLLC, 191 Peachtree Street N.E., Suite 4200, Atlanta, Georgia


30303 within forty-five (45) days following receipt of this request unless the 45th day falls on a


holiday or weekend, in which event the production will take place on the Monday following the


45th day; or in the event the time for response is shortened by court order, then the shorter time


frame shall be applicable. In lieu of this, you may attach copies thereof to your answers to these


interrogatories.


        You are also required, pursuant to the Civil Practice Act, to produce at trial the materials


and documents requested herein.


        The following definitions and instructions are applicable to each interrogatory unless


negated by the context:


I.      DEFINITIONS


        “Document” means any written, recorded, or graphic matter in whatever form, including


copies, drafts, and reproductions thereof to which you have or have had access, including, but not


limited to, correspondence, memoranda, tapes, stenographic or handwritten notes, studies,


publications, books, contracts, agreements, checks, bills, invoices, pamphlets, pictures, films,


voice recordings, maps, graphs, reports, surveys, minutes of statistical compilations; every copy


of such writing or record where the original is not in your possession, custody or control, and every




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copy of such writing or record where such copy is not an identical copy of an original or where


such copy contains any commentary or notation whatsoever that does not appear on the original.


       “Person” shall mean a natural person, proprietorship, partnership, corporation, cooperative,


association, firm, group, or any other organization or entity.


       “Communication” means the transmittal of information from one or more persons to


another person or persons, whether the medium for transmittal be oral, written or electronic.


       “Date” shall mean the exact day, month and year, if ascertainable, or if not, the best


available approximation (including relationship to other events).


       “Identify” or “Identity”, when used in reference to:


       (a)     an individual, shall mean to state the full name, present or last known residence


address (designating which), residence telephone number, present or last known employment


address (designating which), employment telephone number, and employment title or capacity.


       (b)     a firm, partnership, corporation, proprietorship, association or other organization or


entity, shall mean to state its full name and present or last known address (designating which) and


the legal form of such entity or organization.


       (c)     document shall mean to state: the title (if any), the date, author, sender, recipient,


the identity of person signing it, type of document (i.e., a letter, memorandum, notation, book,


telegram, chart, etc.) or some other means of identifying it, and its present location or custodian.


In the case of a document that was, but is no longer, in the possession, custody or control of


Defendant, state what disposition was made of it, why, when and by whom.


       Whenever the context so requires, the plural shall include the singular, the singular the


plural, the masculine the feminine and neuter, and the neuter the masculine and feminine.




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                                       INTERROGATORIES


                                                   1.


        Identify the insurer issuing the policy, the policy number, and the effective dates of the


policy for all policies of insurance (primary or excess) which do, does, or may provide insurance


coverage for the claims made in Plaintiffs Complaint. Plaintiff specifically requests that in


response to this interrogatory, this Defendant identify any and all payouts made and insurance


coverages remaining for any aggregate or single-limits policies applicable for the time period


which includes the subject incident.


                                                   2.


        Please state the name, business address, and business telephone number of the following


   persons:




        (a)     Any claims representative or individual who has investigated or sought to assist in


               the adjusting of the claim made the basis of Plaintiffs Complaint; and


        (b)     The claims representative who is responsible for handling and supervising this


                claim.


                                                   3.


        Please identify every person who has any information about how or why the subject


collision occurred, about who was at fault or any way responsible for causing this collision, and


about any other information concerning the issues of liability or damages in this case. Please list a


brief description or nature of such person’s knowledge (for example:      eyewitness, investigating


police officer, medical doctor, private investigator, etc.).




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        Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 52 of 89




                                                  4.


       Please identify any witness who has information relevant to this case who has orally,


in writing, or by recording in any way given a statement or account of his or her knowledge or any


information relevant to this lawsuit. Identify each such witness by giving his or her name, address,


and telephone number and provide an explanation of the type statement given (oral, written,


recorded, etc.). Also please identify the taker and present custodian of such statement.


                                                  5.


       Please identify any person you expect to call as an expert witness, whether live, by


affidavit, or by deposition in connection with the trial, any hearing or motion for evidentiary matter


in this civil action, and separately for each expert identify: a) the subject matter of which such


person is expected to testify; b) the substance of the facts and opinions as to which such expert is


expected to testify; c) a summary of the grounds for such opinion; and d) all documents and


professional references upon which such person may specifically base his or her testimony and


opinions.



                                                  6.


       Please list each act of negligence, contributory negligence, or comparative negligence you


contend Plaintiff or any other person did or failed to do that in any way contributed to causing the


collision that forms the basis for Plaintiff5 s Complaint. Please supply any statutory authority where


applicable.




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                                                 7.


       State the following information concerning any and all liability insurance, including excess


or umbrella coverage or coverage by any other description, which does or may afford insurance


coverage to this Defendant’s insured for the claims made in this lawsuit:


       (a)     Name of each insurance company issuing policy;


       (b)     Applicable liability limits concerning each policy;


       (c)     Names of all persons and/or companies insured under each policy;


       (d)     Names of the person(s) paying premiums with respect to each policy;


       (e)     Policy number of each policy;


       (f)     Types of insurance coverage carried;


       (g)     Whether the defense of this action has been tendered to any such insurer;


       (h)     Whether defense has been accepted by each such insurer to whom defense has


               been tendered;


       (i)     Whether this Defendant’s insured has made any claims under said policy or


               policies as a result of the occurrence herein;


       (i)     The nature, extent, and amount of any such claim or claims by said insured(s);


       (k)     Whether those claims have been paid by you and the amount of said payment(s);


               and,


       (1)     Your response or reaction with respect to the request that you defend this lawsuit


               and pay any damages assessed, pursuant to the policy provisions.




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                                                   8.


          State whether this Defendant admits that the driver of the subject tractor trailer, Mustafa


Mohamud, negligently caused the subject occurrence. If your answer is in the negative, please


explain the basis for contesting liability.


                                                   9.


          Please identify all persons (whether medical providers, lay persons, or anyone else) who


have any relevant information relative to Plaintiff’s health condition prior to or subsequent to the


collision in this case, information relative to the Plaintiff’s physical and mental suffering as a result


of this collision, or any information relative to the issue of damages in this litigation.


                                                   10.


          Please explain the nature of the employment relationship between the driver of the subject


tractor trailer involved in this collision and this Defendant’s named insured, including the date the


employment relationship began, whether the relationship has been terminated, the date of such


termination, the reason for such termination, and the identity of the person who terminated the


driver.


                                                   11.


          With respect to the driver of the 2015 Freightliner Tractor Trailer involved in this


    occurrence, please state the following:     his date of birth; Social Security number; Driver's


    license number and state of issuance; his present home address; all of said driver’s previous


    residence addresses for the past five years, including the street address, city, state, and zip


    code; and his mode of compensation.




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                                                   12.


       Please identify the following individuals as of the date of the occurrence and at present:


       (a)     Person(s)   responsible   for the    inspection,   maintenance,   and repair   of this


               Defendant’s insured’s 2015 Freightliner Tractor Trailer;


       (b)     Safety Director;


       (c)     Person(s) responsible for training employees/drivers, including Mustafa


               Mohamud;


       (d)     Person(s) responsible for interviewing and/or hiring employees/drivers, and,


               specifically, driver Mustafa Mohamud; and,


       (e)     Person(s) responsible for supervising drivers, including Mustafa Mohamud.


                                                   13.


       Please state whether this Defendant, its agents, its attorneys, or its insured, on its own


or through any other person, obtained or obtains information, from any private source or


governmental agency, about the driving history, driving violations, criminal violations, motor


vehicle record, or other driving qualifications of the persons this Defendant’s insured hires or


allows to drive their vehicles.   If so, please state, by job title, to which employees this inquiry


applies, from whom this information is obtained (including, but not limited to any governmental


agency or entity), and exactly what information is obtained or, as a matter of policy, sought to be


obtained. Also, please state the same as to each person through which such information was


requested or obtained concerning the driver involved in the subject occurrence and the dates upon


which such information was obtained concerning the driver operating the 2015 Freightliner tractor


trailer involved in the subject occurrence.




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                                                  14.


        Please identify any and all investigators, mechanics, adjusters, claims representatives,


or experts who have investigated this collision, examined any of the vehicles involved, or who


have in any way investigated the claims made in this lawsuit on behalf of this Defendant, its


attorneys, or its insured.


                                                  15.


        Please give a detailed history of any inspections, maintenance, and repairs of the 2015


Freightliner tractor trailer which was involved in the subject collision, both prior to and subsequent


to the subject collision, including but not limited to the dates of any inspection(s), maintenance


work, and/or repairs, the names of persons who performed any inspection, maintenance, or repairs,


and a description of the inspection or work performed.


                                                  16.


        As to this Defendant’s insured’s 2015 Freightliner tractor trailer involved in the occurrence,


please state the following information:          Manufacturer, make,      model, year,    and Vehicle


Identification Number (VIN); person or entity to whom the subject tractor trailer was titled as of


the date of the occurrence and at present; present location of the tractor trailer; gross vehicle rating


of the tractor trailer; and wheel base measurements.


                                                  17.


        Please state whether any inspection of the subject 2015 Freightliner tractor trailer was


conducted after the collision that is the subject of this lawsuit, the results of such inspection, and


the name(s) of the person(s) performing such inspection. Also identify any documents, reports,




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photographs, videotapes, or other records which were made concerning any inspection of the


vehicle.


                                                 18.



       Please state whether at the time and place of the subject occurrence, Mustafa Mohamud


was an employee/servant of this Defendant’s insured acting within the course and scope of his


employment. If your answer to this interrogatory is in any way in the negative, please also state


the facts which support such response, including, but not limited to, whether Mustafa Mohamud


was an employee at the time, whether he was “on the clock” at the time, and if you contend he was


on an independent “frolic” of his own, please state what facts support that contention.


                                                 19.


       Please state whether this Defendant, its attorneys, investigators, or other representatives


know of any photographs, still or motion pictures, plans, drawings, blueprints, sketches, diagrams,


computer simulations,    or any other type      demonstrative   evidence   concerning the    subject


occurrence, the site of the subject occurrence, the vehicles involved, or which in any way illustrate


any facts relevant to the occurrence. As to each item, please state the following: the nature of such


item; how many of such items exist (for example, 15 photographs); the name, address, and


employer of the person making or supplying such item; and the identity of the person who presently


possesses such item.




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                                                  20.


       Please state whether or not an accident/incident report was made by this Defendant or any


of your representatives or the insured(s) in connection with the subject occurrence, and if so, the


place where such report is located.


                                                  21.


       Please state in detail how you contend the subject occurrence took place and the order in


which the events took place, to include the purpose of the trip by Mustafa Mohamud, his


destination, and from where he left. Please include in this response a listing of each person, force


of nature, act of God, and/or circumstance you believe to have caused or contributed to causing


the subject occurrence and/or any of Plaintiff’s injuries.


                                                  22.

       Please identify and describe each document filed by or on behalf of          with a state or


government agency, or received from a state or federal agency, including, but not limited to,


certificates of insurance, MC90, insurance cancellation notifications, certificate of authority, and


licenses or permits to engage in interstate or intrastate authority.


                                                  23.


       Identify each document which supports or otherwise relates to your responses to any of


   these Interrogatories or to any of your contentions asserted in your answer to Plaintiffs


   Complaint, stating as to each such document the contention which it supports or to which it


   otherwise relates.


                                 REQUEST FOR PRODUCTION


       Defendant is requested to produce and identify each of the following:




                                                   11
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                                                 1.


   Please provide a copy of every picture in your possession that depicts this accident or the


vehicles involved.


                                                2.


       Please provide a certified copy of the insurance policy between Great West Casualty


Company and NGL Express, LLC Policy Number AUT700055243.


                                                3.


       Please produce all documents that Great West Casualty Company reviewed when making


the decision whether or not to originate a policy of insurance with NGL Express, LLC


                                                4.



       Provide a copy of any reports from Central Analysis Bureau that related to NGL Express,


LLC or any of its affiliates, sister companies, or parent companies.




       This 27th day of May, 2022.

                                                      Respectfully submitted,


                                                      /s/ Shellea D. Crochet
                                                      SHELLEA D. CROCHET
                                                      Georgia Bar No. 735805
                                                      Attorney for Plaintiff
MORGAN & MORGAN ATLANTA PLLC
191 Peachtree Street, N.E.
P.O. Box 57007
Atlanta, Georgia 30343-1007
Tel: (404)965-8811
Fax: (404) 965-8812




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            Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 60 of 89




                            IN THE STATE COURT OF COBB COUNTY
                                        STATE OF GEORGIA


 BRIAN TUCKER,


                    Plaintiff,
 vs.                                                        CIVIL ACTION
                                                            FILE NO:
 MUSTAFA MOHAMUD, NGL
 EXPRESS, LLC, AND GREAT WEST
 CASUALTY COMPANY,                                           JURY TRIAL DEMANDED


                    Defendants.




                                 RULE 5.2 CERTIFICATE OF SERVICE


            This is to certify that pursuant to Uniform Court Rule 5.2, I have served upon all


Defendants in the foregoing matter with a copy of the following:


            Plaintiff hereby certifies that a true and correct copy of the following was delivered for
service with the summons.


       1.   PLAINTIFF BRIAN TUCKER’S FIRST REQUEST FOR ADMISSIONS TO EACH

            DEFENDANT; and

   2.       PLAINTIFF BRIAN TUCKER’S FIRST INTERROGATORIES AND REQUEST FOR

            PRODUCTION OF DOCUMENTS TO EACH DEFENDANT.

                   This 27th day of May, 2022.

                                                         Respectfully submitted,


                                                         /s/ Shellea D. Crochet
                                                         SHELLEA D. CROCHET
                                                         Georgia Bar No. 735805
                                                         Attorney for Plaintiff
MORGAN & MORGAN ATLANTA PLLC
191 Peachtree Street, N.E.
P.O. Box 57007
Atlanta, Georgia 30343-1007




                                                     1
       Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 61 of 89




Tel: (404)965-8811
Fax: (404) 965-8812




                                     2
                    STATE COURT OF COBB COUNTY
Case 1:22-cv-03380-TWT  Document
                    STATE        1-1 Filed 08/22/22 Page 62 of 89
                          OF GEORGIA




                      CIVIL ACTION NUMBER 22-A-1750


                                                  $198.00 COST PAID
Tucker, Brian
Tucker, Meagan


PLAINTIFF
                                            VS.
NGL EXPRESS, LLC
GREAT WEST CASUALTY COMPANY
MOHAMUD, MUSTAFA


DEFENDANTS



                                         SUMMONS
TO: NGL EXPRESS, LLC


You are hereby summoned and required to file with the Clerk of said court and serve upon the
Plaintiffs attorney, whose name and address is:

                             Shellea D Crochet
                             Morgan & Morgan Atlanta, PLLC
                             191 Peachtree St., NE
                             Atlanta, Georgia 30303


an answer to the complaint which is herewith served upon you, within 30 days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
default will be taken against you for the relief demanded in the complaint.


This 31st day of May, 2022.
                                                  Clerk of State Court


                A COBB Cn',%



           = uj =   / I \ B / I \
                                                      Robin C. Bishop, Clerk dr State Court

           K                 /z                                       Cobb County, Georgia




12 East Park Square, Marietta, Georgia 30090-9630
                                                                                     Page 1 of 1
(770) 528-1220 Building B, First Floor-Civil Division
                    STATE COURT OF COBB COUNTY
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                          OF GEORGIA




                      CIVIL ACTION NUMBER 22-A-1750


                                                  $198.00 COST PAID
Tucker, Brian
Tucker, Meagan


PLAINTIFF
                                            VS.
NGL EXPRESS, LLC
GREAT WEST CASUALTY COMPANY
MOHAMUD, MUSTAFA


DEFENDANTS



                                         SUMMONS
TO: MOHAMUD, MUSTAFA


You are hereby summoned and required to file with the Clerk of said court and serve upon the
Plaintiffs attorney, whose name and address is:

                             Shellea D Crochet
                             Morgan & Morgan Atlanta, PLLC
                             191 Peachtree St., NE
                             Atlanta, Georgia 30303


an answer to the complaint which is herewith served upon you, within 30 days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
default will be taken against you for the relief demanded in the complaint.


This 31st day of May, 2022.
                                                  Clerk of State Court


                A COBB Cn',%



           = uj =   / I \ B / I \
                                                      Robin C. Bishop, Clerk dr State Court

           K                 /z                                       Cobb County, Georgia




12 East Park Square, Marietta, Georgia 30090-9630
                                                                                     Page 1 of 1
(770) 528-1220 Building B, First Floor-Civil Division
                    STATE COURT OF COBB COUNTY
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                          OF GEORGIA




                      CIVIL ACTION NUMBER 22-A-1750


                                                  $198.00 COST PAID
Tucker, Brian
Tucker, Meagan


PLAINTIFF
                                            VS.
NGL EXPRESS, LLC
GREAT WEST CASUALTY COMPANY
MOHAMUD, MUSTAFA


DEFENDANTS



                                         SUMMONS
TO: GREAT WEST CASUALTY COMPANY


You are hereby summoned and required to file with the Clerk of said court and serve upon the
Plaintiffs attorney, whose name and address is:

                             Shellea D Crochet
                             Morgan & Morgan Atlanta, PLLC
                             191 Peachtree St., NE
                             Atlanta, Georgia 30303


an answer to the complaint which is herewith served upon you, within 30 days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
default will be taken against you for the relief demanded in the complaint.


This 31st day of May, 2022.
                                                  Clerk of State Court


                A COBB Cn',%



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                                                      Robin C. Bishop, Clerk dr State Court

           K                 /z                                       Cobb County, Georgia




12 East Park Square, Marietta, Georgia 30090-9630
                                                                                     Page 1 of 1
(770) 528-1220 Building B, First Floor-Civil Division
                    Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 65 of 89
                                                                                                                    ID# E-BNCF4WYD-KLR
                                                                                                                      < EFILED IN OFFICE
                          General Civil and Domestic Relations Case Filing Information Form clerk of state court
                                                                                                                     COBB COUNTY, GEORGIA

                                   Superior or 0 State Court of Cobb                                 County                22-A-1750
                                                                                                                    MAY 27, 2022 12:20 ’M
           For Clerk Use Only


           Date Filed 05-27-2022                                    Case Number 22-A-1750                                  IRobin C. Bishop, Clerk ot S ate Court
                                                                                                                                          Cobb Count , Georgia
                            MM-DD-YYYY


Plaintiff(s)                                                           Defendant(s)
Tucker ,    Brian                                                      NGL    EXPRESS,   LLC

Last              First             Middle I.    Suffix    Prefix      Last              First         Middle I.      Suffix        Prefix

Tucker,     Meagan                                                     GREAT WEST     CASUALTY COMPANY

Last              First             Middle I.    Suffix    Prefix      Last              First         Middle I.      Suffix        Prefix

                                                                       MOHAMUD,    MUSTAFA

Last              First             Middle I.    Suffix    Prefix      Last              First         Middle I.      Suffix        Prefix



Last              First             Middle I.    Suffix    Prefix      Last              First         Middle I.      Suffix        Prefix


Plaintiff's Attorney Crochet,         Shellea    D                      Bar Number 735805                    Self- Represented

                               Check one case type and, if applicable, one sub-type in one box.


           General Civil Cases                                                Domestic Relations Cases

           0        Automobile Tort                                                   Adoption
                    Civil Appeal                                                      Contempt
                    Contract                                                                Non-payment    of      child   support,
                    Contempt/Modification/Other                                       medical support, or alimony
                    Post-Judgment                                                     Dissolution/Divorce/Separate
                    Garnishment                                                       Maintenance/Alimony
                    General Tort                                                      Family Violence Petition
                    Habeas Corpus                                                     Modification
                    Injunction/Mandamus/Other Writ                                         Custody/Parenting Time/Visitation
                    Landlord/Tenant                                                   Paternity/Legitimation

                    Medical Malpractice Tort                                          Support - IV-D
                    Product Liability Tort                                            Support - Private (non-IV-D)
                    Real Property                                                     Other Domestic Relations
                    Restraining Petition
                    Other General Civil


           Check if the action is related to another action(s) pending or previously pending in this court involving some or all
           of the same parties, subject matter, or factual issues. If so, provide a case number for each.


                    Case Number                                      Case Number


0          I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
           redaction of personal or confidential information in O.C.G.A. § 9-11-7.1.

           Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

                                                Language(s) Required


           Do you or your client need any disability accommodations? If so, please describe the accommodation request




                                                                                                                                       Version 1.1.20
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                                                                                                ID# E-5Y4BCEJN-WAE
                                                                                                 * EFILED IN OFFICE
                                                                                                CLERK OF STATE COURT
                                                                                                COBB COUNTY, GEORGIA
                               In the State Court of Cobb County
                                                                                                   22-A-1750
                                        State of Georgia
                                                                                                JUN 03, 2022 10:24 AM
      Brian Tucker and
                                                         )
      Meagan Tucker,                                                                                           a
                                                         )                                          Robin C. Bishoi
                                                                                                                  >p, Clerk ot State Court
      Plaintiff,                                         )
                                                                                                                   Cobb County, Georgia



                                                         )
      V.                                                     Civil Action
                                                         )
                                                         )   File No.: 22-A-1750
      NGL Express, LLC, Great West
                                                         )
      Casualty Company, and Mustafa
                                                         )
      Mohamud,
                                                         )
      Defendant.                                         )
                         AFFIDAVIT OF PRIVATE PROCESS SERVER


              My name is Shane Barron. I am a citizen of the United States of America,
      over 21 years of age, I am not an employee to either party of this case, nor do I

      have an interest in the outcome of this action.


              On   the   1st day of June    2022,    I    served   Great West Casualty, with         the
      SUMMONS, COMPLAINT AND DEMAND FOR TRIAL BY JURY, GENERAL CIVIL AND
      DOMESTIC RELATIONS CASE FILING, PLAINTIFF BRIAN TUCKER'S FIRST REQUEST

      FOR     ADMISSIONS     TO   DEFENDANT         MUSTAFA        MOHAMUD,         PLAINTIFF    BRIAN
      TUCKER'S FIRST SET OF INTERROGATORIES AND REQUEST FOR PRODUCTION OF
      DOCUMENTS TO         DEFENDANT    MUSTAFA          MOHAMUD,       PLAINTIFF    BRIAN   TUCKER'S
      FIRST REQUEST FOR ADMISSIONS TO DEFENDANT NGL EXPRESS, LLC, PLAINTIFF
      BRIAN    TUCKER'S      FIRST    SET    OF     INTERROGATORIES            AND    REQUEST      FOR
      PRODUCTION OF DOCUMENTS TO DEFENDANT NGL EXPRESS, LLC, PLAINTIFF BRIAN
      TUCKER'S     FIRST    REQUEST    FOR    ADMISSSONS           TO    GREAT       WEST    CASUALTY
      COMPANY,     PLAINTIFF   BRIAN   TUCKER'S          FIRST   SET    OF   INTERROGATORIES       AND
      REQUEST      FOR    PRODUCTION    OF    DOCUMENTS            TO   DEFENDANT      GREAT      WEST
      CASUALTY COMPANY,        AND RULE 5.2 CERTIFICATE OF SERVICE, by handing it to
      Alisha M. Smith, representative of Corporation Service Company, register agent for

      Great West Casualty, at 2 Sun Court, Suite 400, Peachtre<
                                                         chtreeOCorners,             GA 30092.


                                                                         Shane Barron


      Subscribed and sworn to. befo
                                 fore me,
      This        day of             2022



      Notary Public/




22-
      Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 67 of 89




                      IN THE STATE COURT OF COBB COUNTY
                               STATE OF GEORGIA
                                                )
Shane Willis Barron                             )
                                                )
Petitioner                                      )

                                        ORDER

                                                                              having
       The Petition for Appointment of Shane Willis Barron for Process Server

                                                                     reviewed by the
been read and considered, and the Applicant’s background having been

                                                                     d pursuant to
Superior Court of Cobb County and the applicant having been appointe

O.C.G.A. 9-11-4 .C,

                                                                            is
        IT IS HEREBY ORDERED: That Shane Willis Barron shall be, and hereby

                                                                         immediately and
appointed process server for matters pertaining to tliis Court effective

                                                                       shown.
terminating on December 31, 2022, subject to revocation for good cause




        A copy of this Order must be attached to any Return of Service to be filed.

        This           day of

                                 0          .   -
                                                        '-//
                                                    - y .< ZA'—


                                                    r

                                                                                tn
                                      Judge, Cobb State Court
                                                                                g      ca      Cj


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      Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 68 of 89
                                                                                 ID# E-HNRNHLB5-CDX
                                                                                     # EFILED IN OFFICE
                                                                                     CLERK OF STATE COURT
                                                                                     COBB COUNTY, GEORGIA

                                                                                       22-A-1750
                                                                                 JUN 08, 2022 02:41 PM
                   In the State Court of Cobb County
                            State of Georgia
                                                                                                   a.
                                                                                                      >p, Clerk ot State Court
                                                                                        Robin C. Bishoi
                                                                                                       Cobb County, Georgia


 BRIAN TUCKER and                     )
 MEAGAN TUCKER                        )
                                      )
 Plaintiffs,                          )
                                      )      Civil Action
 v.                                   )      File No.: 22-A-1750
                                      )
 NGL EXPRESS, LLC, GREAT WEST         )
 CASUALTY COMPANY, and                )
 MUSTAFA MOHAMUD,                     )
                                      )
 Defendants.                          )
               AFFIDAVIT OF PRIVATE PROCESS SERVER


        My name is Erika Cremeans. I am a citizen of the United States
 of America, over 21 years of age, I am not an employee to either party
 of this case, nor do I have an interest in the outcome of this action.


        On the 5th day of June 2022, at 11:40 a.m.,                   I served Mustafa
 Mohamud, personally, with the SUMMONS, COMPLAINT AND DEMAND
 FOR TRIAL BY JURY, GENERAL CIVIL AND                      DOMESTIC          RELATIONS
 CASE     FILING   INFORMATION    FORM,       DISCOVERY,               AND    RULE     5.2

 CERTIFICATE OF SERVICE, by handing it to him at 5719 Great Hall

 Court, Columbus, OH 43231.




  ^fe fed2-2
 Date                                                      Erika Cremeans



 Subscribed and sworn to before me,
 This        day of            2022

               l/V\
^N^Tary Public
                       /B *            ? Jeffrey
                                      *S
                                                  A. Cremeans
                                          Notary Public, State of Ohio
                       ?      \        ?   My Commission Expires 6-14-24




                                                                             X
     Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 69 of 89
                                                                                    ID# E-HNRNHLB5-SHJ
                                                                                     # EFILED IN OFFICE
                                                                                    CLERK OF STATE COURT
                                                                                    COBB COUNTY, GEORGIA

                                                                                       22-A-1750
                   In the State Court of Cobb County                                JUN 08, 2022 02:41 PM

                            State of Georgia
                                                                                        IRobin C. Bishop, Clerk OT State Court
                                                                                                       Cobb County, Georgia

BRIAN TUCKER and                       )
MEAGAN TUCKER                          )

Plaintiffs,                            )
                                       )     Civil Action
v.                                     )     File No.: 22-A-1750
                                       )
NGL EXPRESS, LLC, GREAT WEST           )
CASUALTY COMPANY, and                  )
MUSTAFA MOHAMUD,
                                       )
Defendants.                            )
               AFFIDAVIT OF PRIVATE PROCESS SERVER


       My name is Erika Cremeans. I am a citizen of the United States
of America, over 21 years of age, I am not an employee to either party
of this case, nor do I have an interest in the outcome of this action.


       On the 5th day of June 2022, at 11:30 a.m., I served NGL
Express,      LLC, with the SUMMONS, COMPLAINT AND                       DEMAND      FOR
TRIAL BY JURY,      GENERAL CIVIL AND         DOMESTIC            RELATIONS CASE

FILING        INFORMATION   FORM,          DISCOVERY,            AND         RULE     5.2
CERTIFICATE OF SERVICE, by handing it to Adan Ali, registered agent

for NGL Express, LLC, at 2764 Windridge Drive, Columbus, OH 43231.




     7/2622.
Date                                                    Erika Cremeans


Subscribed and sworn to before me,
This y v day of                 2022


Notary Public
                                              i: Jeffrey A. Cremeans
                                              '5  Notary Public, State of Ohio
                                              $ My Commission Expires 6-14-24
                       Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 70 of 89
                                                                                                                                  ID# E-GU5QSLTS-BEV




                                         IN THE STATE COURT OF COBB COUNTY
                                                             STATE OF GEORGIA



              BRIAN TUCKER

              MEAGAN TUCKER                                                                     CASE NO. ZAZ'A- 1~15Q

             PLAINTIFF

                                           Vs
                                                                               TYPE OF SUIT:                       AMOUNT OF SUIT

             PROTECTIVE INSURANCE COMPANY
                                                                               Account                 Principal     $.
                                                                               Contract                Interest      $.
                                                                               Note                   Attys. Fees    $.
              2 Sun Court, Ste. 400                                            Tort                   Court Costs $


              Peachtree Corners, GA 30092
             DEFENDANT



                                                                      SUMMONS


             TO THE ABOVE NAMED DEFENDANT:

             You are hereby summoned and required to file with the CLERK of said court and serve upon the Plaintiff s attorney or upon
             Plaintiff if no attorney, to wit, whose name and address is:


                                       Shellea D. Crochet
                                       MORGAN & MORGAN ATLANTA, PLLC
                                       191 Peachtree St, NE, Suite 4200
                                       Atlanta, GA 30303
                                       scrochet@forthepeople.com


             An answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive
             of the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.
             NOTE: Any corporate party served must be represented by a licensed attorney at law. (see Eckles v. Atlanta Technology Group,
             267 Ga. 801)



             This             U/pu/aa
                               l ~ (Dqjle)


                                                                                      Clerk
                                                                                      State Court of Cobb County, ’’’"Uihum',.



              12 East Park Square, Marietta, Georgia 30090-9630            (770) 528-1220                 Building B, First floor-Civil Division




             G:\Civil Forms for website\Website Forms 0213 13\Civil Summons.docx                                          Revised 02/13/13



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         Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 71 of 89
                                                                                      ID# E-GU5QSLTS-MBL
                                                                                      < EFILED IN OFFICE
                                                                                      CLERK OF STATE COURT
                                                                                      COBB COUNTY, GEORGIA

                                                                                         22-A-1750
                          IN THE STATE COURT OF COBB COUNTY
                                                                                     JUN 20, 2022 11:16AM
                                          STATE OF GEORGIA


                                                                                          Robin C. Bishop, Clerk dr State Court
  BRIAN TUCKER and                                                                                      Cobb County, Georgia

  MEAGAN TUCKER


                  Plaintiffs,                            CIVIL ACTION
  vs.                                                    FILE NO:
                                                         22-A-1750
  NGL EXPRESS, LLC, PROTECTIVE
  INSURANCE COMPANY, and                                  JURY TRIAL DEMANDED
  MUSTAFA MOHAMUD


                  Defendants.




                         AMENDED COMPLAINT AND DEMAND FOR
                                           TRIAL BY JURY


         COMES NOW Plaintiff BRIAN TUCKER, and states his amended complaint against


 Defendant MUSTAFA MOHAMUD, NGL EXPRESS, LLC., and PROTECTIVE INSURANCE


 COMPANY, amending the initial Complaint to correct the name of the Defendant Insurance


 Company to Protective Insurance Company, as follows:



                                  PARTIES AND JURISDICTION


                                                 1.


        Plaintiffs Brian and Meagan Tucker consent to the jurisdiction and venue of this Court. They


are residents of the State of Arkansas.



                                                 2.


        Defendant MUSTAFA MOHAMUD (hereinafter “Mustafa”) is the driver of the tractor


trailer involved in the subject collision and is a resident of the State of Ohio, whose last known


address is 5719 Great Hall CT., Columbus, OH 43231. Defendant may be served at that address.


Defendant is subject to the venue and jurisdiction of this Court under Long-Arm Statute (O.C.G.A.
                                                 1
         Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 72 of 89




§ 9-10-91) by virtue of the fact that Defendant operated a vehicle on the roads located in the State of


Georgia and committed a tortious act in Cobb County, State of Georgia.


                                                  3.


        Jurisdiction and venue are proper in this Court pursuant to O.C.G.A. § 40-12-3 and the


 Long-Arm Statute.


                                                  4.


        Defendant NGL Express, LLC is a for-profit, foreign corporation not authorized to conduct


 business in the State of Georgia with its principal place of business located at 3456 Altos CT.,


 Columbus, OH. Defendant NGL Express, LLC is subject to the jurisdiction of this Court, and may


 be served by issuing Summons and a second original of this Complaint to their registered agent


 Adan Ali, at 281 1 Pinellas CT Apt. B, Columbus, OH 43231.


                                                  5.


        Defendant Protective Insurance Company (hereinafter “Protective”) is a for-profit, foreign


 insurance company authorized to conduct business in the State of Georgia with its principal place


 of business located at 1 1 1 Congressional Blvd., Suite 500, Carmel, IN, 46032, and is subject to the


jurisdiction of this Court, and may be served by issuing Summons and a second original of this


 Complaint to their registered agent Corporation Service Company at the principal place of business


 located at Corporation Service Company, 2 Sun Court, Suite 400, Peachtree Comers, GA 30092,


USA.


                                                  6.


        Defendants NGL Express, LLC, and Protective Casualty Company, are joint tortfeasors


 and as such, venue as to all Defendants is proper in Cobb County,




                                                   2
         Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 73 of 89




 Georgia.


                COUNT I - NEGLIGENCE OF DEFENDANT MUSTAFA MOHAMUD


                                                   7.


        Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 6 above as


 if they were fully restated verbatim.


                                                   8.


        On or about July 17, 2021, Plaintiff Brian Tucker was operating a 2019 Kenworth Motor


 Truck Company, Truck, traveling southbound on 1-285 in Cobb County, Georgia, with Meagan


 Tucker as a passenger.


                                                   9.


        On or about the same time and place, Defendant Mohamud was driving a 20 1 5 Freightliner,


 when he negligently, recklessly, carelessly and unlawfully operated said truck so as to collide with


 the rear of Plaintiff’s vehicle causing damage to the vehicle operated by Plaintiff.


                                                  10.


       As a result of the collision, Plaintiffs suffered multiple injuries, requiring both to undergo


invasive surgery.



                                                  11.


        At all relevant times, Defendant Mohamud owed certain civil duties to Plaintiffs.


 Notwithstanding those duties, Defendant Mohamud did violate them in the following particulars:


        a.      In failing to make reasonable and proper observations while driving the 2015


                Freightliner truck; or, if reasonable and proper observations were made, failing to


                act thereon;


        b.      In following too closely in violation of O.C.G.A. § 40-6-49;


                                                   3
           Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 74 of 89




           c.     In failing to make timely and proper application of his brakes in violation of


                  O.C.G.A. § 40-6-241;


           d.     In failing to observe or undertake the necessary precautions to keep the 2015


                  Freightliner from colliding with the Plaintiffs’ vehicle;


                  O.C.G.A. § 40-6-390;


           e.     In driving the 2015 Freightliner truck without due caution, care, and circumspection


                  and in a manner so as to endanger the person and/or property of others in the


                  immediate vicinity in violation of O.C.G.A. § 40-6-241;


           f.     In driving the 2015 Freightliner truck in reckless disregard for the safety of persons


                  and/or property in violation of O.C.G.A. § 40-6-390; and


           g-     In committing other negligent and reckless acts and omissions as may be shown by


                  the evidence and proven at trial.


                                                      12.


          Defendant Mohamud’s violations of the aforementioned duties of care constitute negligence


per se.




                                                      13.


          As a direct and proximate result of the aforesaid negligence and breaches of duty by


 Defendant Mohamud, Plaintiffs have suffered significant injuries, medical expenses, and damages.


 These damages include emotional distress, personal inconvenience, mental and physical pain and


 suffering, loss of enjoyment of life, due to the violence of the collision and injuries to the Plaintiff’s


 body and nervous system, lost wages, plus an inability to lead a normal life. As a result ofthe subject


 collision, Plaintiff Brian Tucker has incurred in excess of $19,000 in past medical expenses, and



                                                      4
        Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 75 of 89




general damages exceeding $75,000; and Plaintiff Meagan Tucker has incurred in excess of


$24,000 in past medicals, and general damages exceeding $75,000.




       COUNT II - NEGLIGENCE OF DEFENDANT NGL EXPRESS, LLC


                                                14.


       Plaintiffs reallege and incorporate herein by reference paragraphs 1 through 13 above as if


they were fully restated verbatim.


                                                15.


       At all relevant times, Defendant Mohamud was an employee and agent of Defendant NGL


Express, LLC, and Defendant Mohamud was driving the 2015 Freightliner within the course and


scope of his employment with Defendant NGL Express, LLC


                                                16.


       Defendant NGL Express, LLC is liable for the acts and omissions of Defendant Mohamud


as Defendant Mohamud was an agent and employee at the time of the collision-in-suit, under the


theory of respondeat superior.


                                                17.


       Defendant NGL Express, LLC negligently hired, retained, and supervised Defendant


Mohamud.


                                                18.


       Defendant NGL Express, LLC negligently entrusted the 2015 Freightliner tractor trailer to


Defendant Mohamud when they knew or should have known that its driver was incompetent or


unfit to perform the duties given to the driver by the company.



                                                 5
           Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 76 of 89




                                                  19.


        As a direct and proximate result of the aforesaid negligence and breaches of duty by


Defendant NGL Express, LLC, Plaintiffs have suffered significant injuries, medical expenses, and


damages. These damages include emotional distress, personal inconvenience, mental and physical


pain and suffering, loss of enjoyment of life, due to the violence of the collision and injuries to the


Plaintiff’s body and nervous system, plus an inability to lead a normal life. Plaintiff Brian Tucker


has incurred in excess of $19,000 in past medical expenses, and general damages exceeding


$75,000; and Plaintiff Meagan Tucker has incurred in excess of $24,000 in past medicals, and


general damages exceeding $75,000.


                                            CONTRACT


                                                 20.


        Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 19 above as


if they were fully restated verbatim.


                                                 21.


        At the time of the collision-in-suit, on July 17, 2021, Defendant Protective issued a policy


of liability insurance, Policy Number AM600GSTRAVEL0103, naming NGL Express, LLC as an


insured.


                                                  22.


        Protective, Policy Number AM600GSTRAVEL0103, was in effect on July 17, 2021, and


provides coverage for the negligent acts and omissions of NGL Express, LLC and Mohamud as a


result of the collision- in-suit.




                                                   6
        Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 77 of 89




                                                     23.


        Defendant Protective is subject to suit by direct action pursuant to the provisions of


O.C.G.A. § 40-1-1 12(c).


                                                     24.


        Pursuant to the terms and conditions of its policy of insurance and applicable Georgia law,


Defendant Protective is liable to Plaintiffs, and responsible for payment of damages incurred by


and occasioned upon the Plaintiffs as a result of the negligent acts and omissions of Mohamud and


NGL Express, LLC


                                         PRAYER FOR RELIEF


        WHEREFORE, Plaintiffs respectfully pray and demand as follows:


        a.         That Process and Summons be issued, as provided by law, requiring Defendants to


appear and answer Plaintiffs’ Complaint;


        b.         That service be had upon Defendants as provided by law;


        c.         That Plaintiffs have and recover general damages from Defendants, as the jury


deems is liable to Plaintiffs, and in such an amount as the jury deems just and appropriate to fully


and completely compensate Plaintiffs for all of their injuries and pain and suffering, mental,


physical, and emotional, past, present, and future;


        d.         That Plaintiffs have and recover from Defendants, special damages for past and


future medical expenses and loss of income in the past and future in such an amount as shall be


proven at trial;


        e.         That this matter be tried to a jury;


        f          That all costs be cast against the Defendants; and




                                                          7
       Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 78 of 89




       g-      For such other and further relief as this Court deems just and appropriate.


       This 20th day of June, 2022.


                                                     Respectfully submitted,


                                                     /s/ Shelled D. Crochet
                                                     SHELLEAD. CROCHET
                                                     Georgia Bar No. 735805
                                                     Attorney for Plaintiff
MORGAN & MORGAN ATLANTA PLLC
191 Peachtree Street, N.E.
P.O. Box 57007
Atlanta, Georgia 30343-1007
Tel: (404)965-8811
Fax: (404) 965-8812




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        Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 79 of 89
                                                                                       ID# E-ZHSBCXG3-DJ4
                                                                                       < EFILED IN OFFICE
                                                                                       CLERK OF STATE COURT
                                                                                       COBB COUNTY, GEORGIA

                                                                                          22-A-1750
                        IN THE STATE COURT OF COBB COUNTY
                                                                                      JUN 20, 2022 04:05 PM

                                     STATE OF GEORGIA
                                                                                           Robin C. Bishop, Clerk ot State Court
                                                                                                         Cobb County, Georgia
                                              *
BRIAN TUCKER and
                                              *
MEAGAN TUCKER,
                                              *

                                              *
        Plaintiffs,
                                              *
                                                     CIVIL ACTION
                                              *
v.
                                              *
                                                     FILE NO. 22-A- 1750
                                              *
NGL EXPRESS, LLC, GREAT WEST
                                              *
CASUALTY COMPANY, and
                                              *
MUSTAFA MOHAMUD,
                                              *

                                              *
        Defendants.



     STIPULATION EXTENDING TIME FOR DEFENDANT GREAT WEST CASUALTY
         COMPANY TO ANSWER AND RESPOND TO DISCOVERY REQUESTS



        Pursuant to O.C.G.A. § 9- 11 -6(b), and by express agreement, Plaintiffs Brian Tucker and


Meagan Tucker (“Plaintiffs”) and Defendant Great West Casualty Company (“Defendant”) hereby


stipulate to extend the time in which Defendant may answer, object, or otherwise respond to


Plaintiffs’ Complaint and Demand for Trial by Jury through and including August 1, 2022.


        Plaintiffs and Defendant further stipulate to extend the time in which Defendant may


answer, object, or otherwise respond to Plaintiffs’ first discovery requests to Defendant, including


Plaintiff Brian Tucker’s Request for Admissions to Defendant Great West Casualty Company and


Plaintiff Brian Tucker’s First Set of Interrogatories and Request for Production of Documents to


Defendant Great West Casualty Company through and including August 19, 2022.
       Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 80 of 89




      Respectfully submitted, this 20th day of June 2022.




MORGAN & MORGAN ATLANTA PLLC                       o’daniel McDonald, llc




/s/Shellea D. Crochet (signed w/express            /s/Clay S. O’ Daniel
permission by CSO)
Shellea D. Crochet                                 Clay S. O’Daniel
Georgia Bar No. 735805                             Georgia Bar No. 843070
191 Peachtree Street, NE                           9040 Roswell Road, Suite 500
PO Box 57007                                       Atlanta, GA 30350-3939
Atlanta, GA 30343-1007                             (404) 419-6300
(404) 965-8811                                     (404) 419-6301 (fax)
(404)965-8812 (fax)                                codaniel@odmclaw.com
scrochet@forthepeople . com


Attorneyfor Plaintiffs                             Attorney   for   Defendant   Great   West
                                                   Casualty Company




                                          Page 2 of 2
          Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 81 of 89




                                CERTIFICATE OF SERVICE


          The undersigned attorney does hereby certify that a true and correct copy of the


STIPULATION         EXTENDING       TIME     FOR   DEFENDANT       GREAT     WEST   CASUALTY


COMPANY TO ANSWER AND RESPOND TO DISCOVERY REQUESTS was duly served


upon Plaintiffs by using the PeachCourt efile system for service to Plaintiffs’ below counsel of


record:


                                          Shellea D. Crochet
                                 Morgan & Morgan Atlanta, PLLC
                                        191 Peachtree Street NE
                                            PO Box 57007
                                        Atlanta GA 30343-1007
                                    scrochet@forthepeople.com


          This 20th day of June 2022.


                                                      /s/Clay S. O’ Daniel
                                                      Clay S. O’ Daniel
        Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 82 of 89
                                                                                           ID# E-KAEKZ3C5-P4H
                                                                                            < EFILED IN OFFICE
                                                                                            CLERK OF STATE COURT
                                                                                            COBB COUNTY, GEORGIA
                          IN THE STATE COURT OF COBB COUNTY
                                       STATE OF GEORGIA                                       22-A-1750
                                                                                           JUL 21, 2022 05:04 PM
 BRIAN TUCKER and
 MEGAN TUCKER,
                                                        CASE ACTION                             Robin C. Bishop, Clerk ot State Court
                                                                                                              Cobb County, Georgia
                  Plaintiff,
                                                        FILE NO. 22-A-1750
 vs.



 NGL EXPRESS, LLC, GREAT WEST
 CASUALTY COMPANY, and MUSTAFA
 MOHAMUD
                  Defendant,




                               NOTICE OF LEAVE OF ABSENCE


        COMES NOW, Shellea D. Crochet, and respectfully notifies all judges before whom he
has cases pending, all affected clerks of court, and all opposing counsel that he will be on leave
pursuant to Georgia Uniform Court Rule 16 as follows:


        The periods of leave during which time Applicant will be away from the practice of law
are: July 22, 2022, August 3-10, 2022, September 5-6, 2022. September 23, 2022, November
21-23, 2022, December 19-26, 2022, January 23-27, 2023. Applicant states that he will be out
of state for travel, personal time, continuing legal education and family commitments during the
above-mentioned periods of time and will be unable to participate in trials, hearings, depositions,
and other legal proceedings.


        1.      All affected judges and opposing counsel shall have ten (10) days from the date of
                this notice to object to it. If no objections are filed, the leave shall be granted.


This 2 1st day of July, 2022
                                                        Respectfully Submitted,

                                                        /s/ Shellea D. Crochet
                                                        Shellea Crochet
                                                        Georgia Bar Number 735805
                                                        Attorney for Plaintiff


 MORGAN & MORGAN ATLANTA PLLC
 191 Peachtree St., NE, Suite 4200
 Atlanta, Georgia 30303
 Tel:    (404)965-8811
 Fax:    (404)965-8812
 scrochet@forthepeople.com
        Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 83 of 89




                                CERTIFICATE OF SERVICE


        This certifies that I have this day served a copy of the foregoing NOTICE OF LEAVE
OF ABSENCE upon all parties to this matter by Statutory Electronic Service or by depositing a
true copy of same in the United States Mail, proper postage prepaid, addressed to counsel of
record as follows:




This 2 1st day of July, 2022


                                                           Respectfully Submitted,
                                                           /s/ShelleaD. Crochet
                                                           Shellea Crochet
                                                           Georgia Bar Number 735805
                                                           Attorney for Plaintiff


MORGAN & MORGAN ATLANTA PLLC
191 Peachtree St., NE, Suite 4200
Atlanta, Georgia 30303
Tel:    (404)965-8811
Fax:    (404) 965-8812
scrochet@forthepeople.com
        Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 84 of 89
                                                                                      ID# E-WZB3XLED-DKF
                                                                                       © EFILED IN OFFICE
                                                                                       CLERK OF STATE COURT
                                                                                       COBB COUNTY, GEORGIA

                                                                                          22-A-1750
                        IN THE STATE COURT OF COBB COUNTY
                                                                                      JUL 25, 2022 01:34 PM

                                     STATE OF GEORGIA
                                                                                           Robin C. Bishop, Clerk df State Court
                                                                                                         Cobb County, Georgia
                                              *
BRIAN TUCKER and
                                              *
MEAGAN TUCKER,
                                              *

                                              *
        Plaintiffs,
                                              *
                                                     CIVIL ACTION
                                              *
v.
                                              *
                                                     FILE NO. 22-A-1750
                                              *
NGL EXPRESS, LLC, GREAT WEST
                                              *
CASUALTY COMPANY, and
                                              *
MUSTAFA MOHAMUD,
                                              *

                                              *
        Defendants.



     STIPULATION EXTENDING TIME FOR DEFENDANT GREAT WEST CASUALTY
         COMPANY TO ANSWER AND RESPOND TO DISCOVERY REQUESTS




        Pursuant to O.C.G.A. § 9-1 l-6(b), and by express agreement, Plaintiffs Brian Tucker and


Meagan Tucker (“Plaintiffs”) and Defendant Great West Casualty Company (“Defendant”) hereby


stipulate to extend the time in which Defendant may answer, object, or otherwise respond to


Plaintiffs’ Complaint and Demand for Trial by Jury through and including September 1, 2022.


        Plaintiffs and Defendant further stipulate to extend the time in which Defendant may


answer, object, or otherwise respond to Plaintiffs’ first discovery requests to Defendant, including


Plaintiff Brian Tucker’s Request for Admissions to Defendant Great West Casualty Company and


Plaintiff Brian Tucker’s First Set of Interrogatories and Request for Production of Documents to


Defendant Great West Casualty Company through and including September 19, 2022.
       Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 85 of 89




      Respectfully submitted, this 25th day of July 2022.




MORGAN & MORGAN ATLANTA PLLC                       o’daniel McDonald, llc




/s/Shellea D. Crochet (signed w/express            /s/Clav S. O’Daniel
permission by CSO}
Shellea D. Crochet                                 Clay S. O’Daniel
Georgia Bar No. 735805                             Georgia Bar No. 843070
191 Peachtree Street, NE                           9040 Roswell Road, Suite 500
PO Box 57007                                       Atlanta, GA 30350-3939
Atlanta, GA 30343-1007                             (404)419-6300
(404) 965-8811                                     (404) 419-6301 (fax)
(404)965-8812 (fax)                                codaniel@odmclaw.com
scrochet@forthepeople.com


Attorney for Plaintiffs                            Attorney   for   Defendant   Great   West
                                                   Casualty Company




                                          Page 2 of 2
          Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 86 of 89




                                CERTIFICATE OF SERVICE


          The undersigned attorney does hereby certify that a true and correct copy of the


STIPULATION         EXTENDING       TIME     FOR   DEFENDANT       GREAT     WEST   CASUALTY


COMPANY TO ANSWER AND RESPOND TO DISCOVERY REQUESTS was duly served


upon Plaintiffs by using the PeachCourt efile system for service to Plaintiffs’ below counsel of


record:


                                          Shellea D. Crochet
                                 Morgan & Morgan Atlanta, PLLC
                                        191 Peachtree Street NE
                                            PO Box 57007
                                        Atlanta GA 30343-1007
                                    scrochet@forthepeople.com


          This 25th day of July 2022.


                                                      /s/Clay S. O’ Daniel
                                                       Clay S. O’ Daniel
        Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 87 of 89
                                                                                            ID# E-ARQ4XCSV-GYJ
                                                                                             < EFILED IN OFFICE
                                                                                             CLERK OF STATE COURT
                                                                                             COBB COUNTY, GEORGIA

                                                                                                22-A-1750
                        IN THE STATE COURT OF COBB COUNTY                                   JUL 26, 2022 03:29 PM

                                 STATE OF GEORGIA
                                                                                                 Robin Or Bishop, Clerk ot State Court
                                                                                                               Cobb County, Georgia
BRIAN TUCKER and
MEAGAN TUCKER

                 Plaintiffs,                              CIVIL ACTION
vs.                                                       FILE NO: 22-A-1750


NGL EXPRESS, LLC, PROTECTIVE
INSURANCE COMPANY, and
MUSTAFA MOHAMUD

                 Defendants.



                                   AFFIDAVIT OF SERVICE


        PERSONALLY appeared before me, an officer duly qualified to administer oaths, ERIC

D. ECHOLS, a permanent process server which, after being duly sworn, states the following:

                                                   1.


        Affiant states that he is over 1 8 years of age, a citizen of the United States, and not related


to the parties herein. The statements made in the affidavit are true and correct and are based upon

my personal knowledge.      Affiant states that service was conducted as a permanent process server


with the STATE COURT OF COBB COUNTY, and a copy of the Order authorizing me to service


process is attached hereto (see Exhibit “A”).

                                                   2.


         I personally served BARRY SMITH, the designated person to accept service for registered


agent   CORPORATION            SERVICE COMPANY on             behalf of Defendant PROTECTIVE


INSURANCE COMPANY on Friday, July 22, 2022, at 1 1:35 a.m., located at 2 Sun Court, Suite


400, Peachtree Comers, Gwinnett County, Georgia 30092, and served a copy of the following


document(s) as provided by the court:

                                      Continue on the next page




                                                                                 YJ
          Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 88 of 89




   1.     SUMMONS;


   2. AMENDED COMPLAINT AND DEMAND FOR TRIAL BY JURY;

1 declare under penalty of perjury that the foregoing is true and correct,

This         day of July 2022.



                                                    I?ric D. Echols, CFI
                                                    Permanent Process Server
                                                    TFP Company
                                                    P. O. Box 6096
                                                    Marietta, GA 30065
                                                    770.579.0188




Sworn to and subscribed before


me this            day of              _,2022.



Notary Public Signature


My Commission Expires:
                                                  RICHARD OWENS
                                   1       Notary Public - State of Georgia
                                                   Bartow County
                                         My Commission Expires Jul 1, 2023
  Case 1:22-cv-03380-TWT Document 1-1 Filed 08/22/22 Page 89 of 89




                      IN THE STATE COURT OF COBB COUNTY
                               STATE OF GEORGIA



IN RE: ERIC D. ECHOLS,                   )
                                         )
        Petitioner.                      )


                                        ORDER

       The application of Eric D. Echols having been read and considered, said

applicant is hereby appointed permanent process server of this Court pursuant to


O.C.G.A. § 9-1 1 -4(c) from the date of this Order through December 31 , 2022,

subject to revocation for good cause shown. A copy of this Order must be attached

to any return of service to be filed.


       SO ORDERED this, the 4th of January, 2022.




                                         JOHN S. MORGAN, JUDGE
                                         STATE COURT OF COBB COUNTY




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                                    EXHIBIT A
